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                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

THE STATE OF TEXAS                          §
By Attorney General Ken Paxton              §
                                            §                     4:20cv957
THE STATE OF ARKANSAS                       §   Civil Action No. ___________
By Attorney General Leslie Rutledge         §
                                            §
THE STATE OF IDAHO                          §
By Attorney General Lawrence G. Wasden      §   JURY TRIAL DEMANDED
                                            §
THE STATE OF INDIANA                        §
By Attorney General Curtis Hill             §
                                                            FILED: 12/16/20
                                            §
                                                        U.S. DISTRICT COURT
COMMONWEALTH OF KENTUCKY                    §
                                                      EASTERN DISTRICT COURT
By Attorney General Daniel Cameron          §
                                            §         DAVID $2 722/(, CLERK
THE STATE OF MISSISSIPPI                    §
By Attorney General Lynn Fitch              §
                                            §
STATE OF MISSOURI                           §
By Attorney General Eric Schmitt            §
                                            §
STATE OF NORTH DAKOTA                       §
By Attorney General Wayne Stenehjem         §
                                            §
STATE OF SOUTH DAKOTA                       §
By Attorney General Jason R. Ravnsborg      §
                                            §
and                                         §
                                            §
STATE OF UTAH                               §
By Attorney General Sean D. Reyes           §
                                            §
                          Plaintiffs,       §
                                            §
                    vs.                     §
                                            §
GOOGLE LLC,                                 §
                                            §
                          Defendant.        §


                                        COMPLAINT
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   1.        The States of Texas, Arkansas Idaho, Indiana, Mississippi, Missouri, North

Dakota, South Dakota, Utah, and the Commonwealth of Kentucky, by and through their

Attorneys General (collectively, the “Plaintiff States”), bring this action against Google LLC

(“Google”) under federal and state antitrust laws and deceptive trade practices laws and allege as

follows:

                                   I.   NATURE OF THE CASE

   2.       The halcyon days of Google’s youth are a distant memory. Over twenty years ago, two

college students founded a company that forever changed the way that people search the internet.

Since then, Google has expanded its business far beyond search and dropped its famous “don’t be

evil” motto. Its business practices reflect that change. As internal Google documents reveal,

Google sought to kill competition and has done so through an array of exclusionary tactics,

including an unlawful agreement with Facebook, its largest potential competitive threat, to

PDQLSXODWH advertising auctions. The Supreme Court has warned that there are such things as

antitrust evils. This litigation will establish that Google is guilty of such antitrust evils, and it

seeks to ensure that Google won’t be evil anymore.

   3.       Google is an advertising company that makes billions of dollars a year by using

individuals’ personal information to engage in targeted digital advertising. Google has extended

its reach from search advertising to dominate the online advertising landscape for image-based

web display ads. In its complexity, the market for display ads resembles the most complicated

financial markets: publishers and advertisers trade display inventory through brokers and on

electronic exchanges at lightning speed. As of 2020, Google is a company standing at the apex of

power in media and advertising, generating over $161 billion annually with staggering profit

margins, almost all of it from advertising.



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   4.      Google’s advertising apparatus extends to the new ad exchanges and brokers through

which display ads trade. Indeed, nearly all of today’s online publishers (be they large or small)

depend on one company—Google—as their middleman to sell their online display ad space in “ad

exchanges,” i.e., the centralized electronic trading venues where display ads are bought and sold.

Conversely, nearly every consumer goods company, e-commerce entity, and small business now

depend on Google as their respective middleman for purchasing display ads from exchanges in

order to market their goods and services to consumers. In addition to representing both the buyers

and the sellers of online display advertising, Google also operates the largest exchange AdX. In

this electronically traded market, Google is pitcher, batter, and umpire, all at the same time.

   5.      The scale of online display advertising markets in the United States is extraordinary.

Google operates the largest electronic trading market in existence. Whereas financial exchanges

such as the NYSE and NASDAQ match millions of trades to thousands of company symbols daily,

Google’s exchange processes about                 online ad spaces each day. In Google’s words,




            At the same time, Google owns the largest buy-side and sell-side brokers. As one

senior Google employee admitted,

        Or more accurately, the analogy would be if                               were a monopoly

financial broker and owned the          which was a monopoly stock exchange.

   6.      Google, however, did not accrue its monopoly power through excellence in the

marketplace or innovations in its services alone. Google’s internal documents belie the public

image of brainy Google engineers having fun at their sunny Mountain View campus while trying

to make the world a better place. Rather, to cement its dominance across online display markets,



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Google has repeatedly and brazenly violated antitrust and consumer protection laws. Its modus

operandi is to monopolize and misrepresent. Google uses its powerful position on every side of

the online display markets to unlawfully exclude competition. It also boldly claims that “we’ll

never sell your personal information to anyone,” but its entire business model is targeted

advertising—the purchase and sale of advertisements targeted to individual users based on their

personal information. From its earliest days, Google’s carefully curated public reputation of “don’t

be evil” has enabled it to act with wide latitude. That latitude is enhanced by the extreme opacity

and complexity of digital advertising markets, which are at least as complex as the most

sophisticated financial markets in the world.

    7.      The fundamental change for Google dates back to its 2008 acquisition of DoubleClick,

the leading provider of the ad server tools that online publishers, including newspapers and other

media companies, use to sell their graphical display advertising inventory on exchanges. As the

new middleman between publishers and exchanges, Google quickly began to use its new position

to exert leverage. For instance, Google started requiring publishers to license Google’s ad server

and to transact through Google’s exchange in order to do business with the one million plus

advertisers who used Google as their middleman for buying inventory. So Google was able to

demand that it represent the buy-side, where it extracted one fee, as well as the sell-side, where it

extracted a second fee, and it was also able to force transactions to clear in its exchange, where it

extracted a third, even larger, fee.

    8.      Within a few short years of executing this unlawful tactic, Google successfully

monopolized the publisher ad server market and grew its ad exchange to number one, despite

having entered those two markets much later than the competition. With a newfound hold on

publisher ad servers, Google then proceeded to further foreclose publishers’ ability to trade in



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exchanges. Google imposed a one-exchange-rule on publishers, barring them from routing

inventory to more than one exchange at a time. At the same time, Google demanded that sellers

route their ad space to Google’s exchange because doing so would serve the sellers’ best interest

and maximize revenue. As internal documents reveal, however, Google’s real scheme was to

permit its exchange to                                                                               .

One industry publication put it succinctly: “[t]he lack of competition was costing pub[s] cold hard

cash.”

   9.      In an attempt to reinject competition in the marketplace, publishers devised a new

innovation called header bidding.      Header bidding routed ad inventory to multiple neutral

exchanges each time a user visited a web page in order to return the highest bid for the inventory.

At first, header bidding bypassed Google’s stranglehold. By 2016, about 70 percent of major online

publishers in the United States had adopted the innovation. Advertisers also migrated to header

bidding in droves because it helped them to optimize the purchase of inventory through the most

cost-effective exchanges.

   10.     Google quickly realized that this innovation substantially threatened its exchange’s

ability to demand a very large—              percent—cut on all advertising transactions. Header

bidding also undermined Google’s ability to trade on inside and non-public information from one

side of the market to advantage itself on the other—a practice that in other markets would be

considered insider trading or front running. As a result, and as Google’s internal communications

make clear, Google viewed header bidding’s promotion of genuine competition as a major threat.

In Google’s words, it was an

   11.     Google responded to this threat of competition through a series of anticompetitive

tactics. First, Google ceded ground and started to allow publishers using its ad server to route their



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inventory to more than one exchange at a time. However, Google’s program secretly let its own

exchange win, even when another exchange submitted a higher bid. Google’s codename for this

program was       —a character name from Star Wars. And as one Google employee explained

internally, Google deliberately designed the program to avoid competition and the program

consequently hurt publishers. In Google’s words, the       program

                                                                                   Next, Google

tried to come up with other creative ways to shut out competition from exchanges in header

bidding. During one internal debate, a Google employee proposed a

                                       . A second employee captured Google’s ultimate aim of

destroying header bidding altogether, noting in response that

                                                     Google wanted to be more aggressive.

   12.     Google grew increasingly brazen in its efforts to undermine competition. In March

2017, Google’s largest Big Tech rival, Facebook, announced that it would throw its weight behind

header bidding. Like Google, Facebook brought millions of advertisers on board to reach the users

on its social network. In light of Facebook’s deep knowledge of its users, Facebook could use

header bidding to operate an electronic marketplace for online ads in competition with Google.

Facebook’s marketplace for online ads is known as “Facebook Audience Network” or FAN.

Google understood the severity of the threat to its position if Facebook were to enter the market

and support header bidding. To diffuse this threat, Google made overtures to Facebook. Internal

Facebook communications reveal that

                                          . As one Facebook executive acknowledged,




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   13.      Any collaboration between two competitors of such magnitude should have set off the

loudest alarm bells in terms of antitrust compliance. Apparently, it did not. Internally, Google

documented that if it could not

                             Indeed, Facebook understood Google’s rationale as a monopolist very

well. An internal Facebook communication at the highest-level reveals that Facebook’s header

bidding announcement was part of a planned long-term strategy—an “

         ”—to draw Google in. Facebook decided to dangle the threat of competition in Google’s

face and then cut a deal to PDQLSXODWH the auction.

   14.      In the end, Facebook curtailed its involvement with header bidding in return for Google

giving Facebook information, speed, and other advantages in the               auctions that Google

runs for publishers’ mobile app advertising inventory each month in the United States. In these

auctions, Facebook and Google compete head-to-head as bidders. Google’s internal codename for

this agreement, signed at the highest-level, was         —a twist on the character name from Star

Wars. The parties agree on           for how often Facebook would          publishers’ auctions—

literally manipulating the auction with                             for how often Facebook would

bid and win.

   15.         $ERYH DQG EH\RQG its XQODZIXO agreement with Facebook, Google employed a

number of other anticompetitive tactics to shut down competition from header bidding. Google

deceived exchanges into bidding through Google instead of header bidding, telling them it would

stop front running their orders when in fact it would not. Google employees also deceived

publishers, telling one major online publisher that it should cut off a rival exchange in header

bidding because of a strain on its servers. After this misrepresentation was uncovered, Google

employees discussed playing a trick—a                       —on the industry to nonetheless get



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publishers to cut off exchanges in header bidding. Google wanted to

                                                       Google then proceeded to cripple publishers’

ability to use header bidding in a variety of ways.

   16.     Having reached its monopoly position, Google now uses its immense market power to

extract a very high tax of            percent of the ad dollars otherwise flowing to the countless

online publishers and content producers like online newspapers, cooking websites, and blogs who

survive by selling advertisements on their websites and apps. These costs invariably are passed

onto the advertisers themselves and then to American consumers. The monopoly tax Google

imposes on American businesses—advertisers like clothing brands, restaurants, and realtors—is a

tax that is ultimately borne by American consumers through higher prices and lower quality on the

goods, services, and information those businesses provide. Every American suffers when Google

imposes its monopoly pricing on the sale of targeted advertising.

   17.     From its earliest days, the internet’s fundamental tenet has been its decentralization:

there is no controlling node, no single point of failure, and no central authority granting permission

to offer or access online content. Online advertising is uniquely positioned to provide content to

users at a massive scale. However, the open internet is now threatened by a single company.

Google has become the controlling node and the central authority for online advertising, which

serves as the primary currency enabling a free and open internet.

   18.     Google’s current dominance is merely a preview of its future plans. Google has an

appetite for total dominance, and its latest ambition is to transform the free and open architecture

of the internet. Google’s plan is to create a walled garden around the internet in which it controls

websites and mobile applications. Google calls its emerging venture the                   , a world in

which publisher content is operated by Google. Internally, it refers to this model as



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                          . Google’s documented plan is to capture online publishers on the open

internet and transform them into content creators generating revenue for Google on a completely

closed platform—like YouTube content creators.

   19.     As a result of Google’s anticompetitive conduct, including its unlawful agreement with

Facebook, Google has violated and continues to violate Sections 1 and 2 of the Sherman Act, 15

U.S.C. §§ 1, 2. Plaintiff States bring this action to remove the veil of Google’s secret practices and

end Google’s abuse of its monopoly power in online advertising markets. Plaintiff States seek to

restore free and fair competition to these markets and to secure structural, behavioral, and monetary

relief to prevent Google from ever again engaging in deceptive trade practices and abusing its

monopoly power to foreclose competition and harm consumers.

                                           II. PARTIES

   20.     Plaintiff States, by and through their respective Attorneys General, bring this action in

their respective sovereign capacities and as parens patriae on behalf of the citizens, general

welfare, and economy of their respective States under their statutory, equitable, or common law

powers, and pursuant to Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 & 26.

   21.     Google is a limited liability company organized and existing under the laws of the State

of Delaware, with its principal place of business in Mountain View, California. Google is an online

advertising technology company providing internet-related products, including various online

advertising technologies, directly and through subsidiaries and business units it owns and controls.

Google is owned by Alphabet Inc., a publicly traded company incorporated and existing under the

laws of the State of Delaware and headquartered in Mountain View, California.




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                                       III. JURISDICTION

   22.     The Court has jurisdiction over this action under Sections 1 and 2 of the Sherman Act,

15 U.S.C. §§ 1 & 2; Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15c & 26; and under 28

U.S.C. §§ 1331 and 1337.

   23.     In addition to pleading violations of federal antitrust law, the Plaintiff States allege

violations of state antitrust and consumer protection laws and seek civil penalties and equitable

relief under those state laws. All claims under federal and state law are based upon a common

nucleus of operative facts, and the entire action commenced by this Complaint constitutes a single

case that would ordinarily be tried in one judicial proceeding.

   24.     This Court has jurisdiction over the non-federal claims under 28 U.S.C. § 1367(a), as

well as under principles of pendent jurisdiction. Pendent jurisdiction will avoid unnecessary

duplication and multiplicity of actions and should be exercised in the interests of judicial economy,

convenience, and fairness.

   25.     This Court may exercise personal jurisdiction over Google because Google conducts

business in this District. Google has established sufficient contacts in this District such that

personal jurisdiction is appropriate. Google sells the products at issue throughout the United States

and across state lines. Google is engaged in, and its activities substantially affect, interstate trade

and commerce. Google provides a range of products and services that are marketed, distributed,

and offered to consumers throughout the United States, in the Plaintiff States, across state lines,

and internationally.

                                           IV. VENUE

   26.     Venue is proper in this District under Section 12 of the Clayton Act, 15 U.S.C. § 22,

and 28 U.S.C. § 1391. A substantial part of the events or omissions giving rise to the Plaintiff

States’ claims occurred in this District. Google transacts business and is found within this District.
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                                 V.    INDUSTRY BACKGROUND

   27.     The internet revolutionized the way people consume content, and along with it, the

types of advertisements that companies can purchase to reach consumers. Online image-based ads

on the web called “display” ads, audio ads, and video ads in the online world have largely

supplanted their traditional print, radio, and television counterparts. In addition, the internet

ushered in completely new advertising formats, including targeted text-based ads on search

engines, shareable ads on social media, and specialized ads inside mobile phone applications.

   28.     For online publishers and advertisers alike, the different online advertising formats are

not interchangeable. Online media companies that operate websites and mobile applications

(“online publishers”) are necessarily restricted in the types of ad formats they can sell. A news

website, for example, can generally sell display ads alongside its news articles but cannot generally

sell search or audio ads to monetize the same content. At the same time, advertisers on the other

end of the transaction purchase one format or another to serve their different goals. For instance,

advertisers purchase search ads to reach consumers actively looking to make a purchase, whereas

they purchase display ads to increase brand awareness.

   29.     In addition to introducing new advertising formats, the internet changed how online

publishers sell their advertising inventory. Online publishers sell their inventory to advertisers

either directly or indirectly through ad marketplaces. The “direct” sales method refers to

campaigns that the publisher itself sells directly to advertisers, including those campaigns sold by

the publisher’s internal sales staff and through the publisher’s private auctions. For example, USA

Today, as an online publisher, could negotiate directly with Disney, as an advertiser, to display

Disney ads atop the USA Today homepage one million times in a particular month.

   30.     Publishers also use a specialized distribution channel to sell their ad inventory

indirectly to advertisers. Large publishers usually sell some inventory directly, then sell their
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remaining inventory indirectly. A publisher cannot always predict how many ad spaces it has

available to sell directly to advertisers because it is dependent on the number of users who visit

the publisher’s website; selling inventory indirectly permits publishers to nonetheless sell their

surplus impressions. Additionally, some publishers sell the entirety of their inventory indirectly.

“Indirect” sales occur through centralized electronic trading venues called “ad exchanges” and

through “networks” of publishers and advertisers. In lieu of direct sales, publishers can let ad

exchanges auction their inventory in real time on their behalf and keep a portion of advertising

proceeds in return.

     31.      Whether online publishers sell their display inventory directly or indirectly, the

advertisements can target specific users in real time. When a user views a website or mobile app,

advertisers purchase the individual spaces for ads (“impressions”) targeted to that user. Google

likes to claim that it will “never sell your personal information to anyone,” but the online ad

impressions Google sells to advertisers target individual users based on their personal information.

     32.      Finally, because publishers can target ads to specific users in real time, online

publishers manage highly varied, or “heterogeneous,” inventory. One might think that a website

with three pages and three different ad slots per page would have a total of nine unique ad units to

sell. But because online ads are targeted at individual users, the same site with 1,000,000 readers

actually has 9,000,000 different ad units to sell: each of the website’s impressions targeted to each

unique reader. Consequently, an online publisher’s inventory is akin to the inventory of seats at a

baseball stadium: no two pieces of inventory are the exact same and each is valued by its

particulars. In online advertising, this includes the particulars of each person viewing each ad.

A.         Online Display Advertising Markets

     33.      Online publishers and advertisers depend on several different and distinct products to

sell their display inventory. These products include (1) the ad server, which acts as the publisher’s
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inventory management system and helps the publisher sell its inventory, (2) the marketplaces that

match buyers and sellers of display ads (exchanges and networks, separately), and (3) the ad

buying tools that advertisers must use as their middleman to buy display inventory from exchanges.

These products conduct the complex tasks associated with pricing, clearing, executing, and settling

billions of display impressions every month in the United States. Google possesses monopoly

power in each of these distinct markets. Imagine if the financial markets are controlled by one

monopoly company, say Goldman Sachs, and that company then owns the NYSE, which is the

largest financial exchange, that then trades on that exchange to advantage itself, eliminate

competition, and charge a monopoly tax on billions of daily transactions. That is the world of

online display advertising today.

         1.      Publishers’ Inventory Management Systems (Ad Servers)

   34.        Large publishers such as CBS, Time, ESPN, Weather.com, and NPR depend on a

sophisticated inventory management system called an ad server to holistically manage their online

display inventory. Ad servers keep track of publishers’ heterogeneous ad inventory and help

publishers sell that inventory both directly and indirectly through exchanges, with the stated goal

of maximizing publishers’ advertising revenue. Publishers typically use a single ad server to

manage all of their display inventory; using multiple ad servers would substantially frustrate a




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publisher’s ability to effectively optimize management of their inventory and maximize revenue.




   35.     When using an ad server, online publishers necessarily relinquish some control over

inventory management and revenue maximization. While a publisher can adjust some of the ways

that its ad server manages and sells inventory, an ad server’s features and limitations ultimately

limit the publisher’s control. Publishers also rely on the specialization of their ad server to help

them navigate the complexities of electronic trading: ad server account analysts individually advise

online publishers on how to adjust the ad server’s parameters to increase revenue. Put simply, ad

servers advance publishers’ interests.

   36.     To holistically manage a publisher’s online display inventory, the ad server performs

three internal critical tasks related to selling ad space. First, the ad server identifies the users

visiting the publisher’s webpage in order to manage the publisher’s inventory and maximize its

yield. When a user visits a webpage, the ad server—on behalf of and with the permission of the


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publisher—identifies the user through identification technology facilitated by the user’s web

browser (e.g., Chrome or Safari) and/or mobile device (e.g., Android or iOS). To keep track of

individual users, the ad server assigns each user a unique user ID (e.g., 5g77yuu3bjNH). By

essentially “tagging” users with a unique user ID, an ad server helps publishers, exchanges, and

advertisers know the identity and characteristics of each particular user associated with a

publisher’s ad space. For example, an advertiser can correlate a user’s pseudonymous ID (e.g.,

5g77yuu3bjNH) with the user’s identity (e.g., John Connor) and use that identity “link” to look up

additional information about the user (e.g., John Connor lives in Los Angeles, drives Harley-

Davidson motorcycles, and wears Oakley sunglasses). This, in turn, allows the advertiser to know

the ad space targeted to that user is high value. User IDs are also used to cap the number of times

a user is shown a particular ad to avoid oversaturating the user, so-called “frequency capping.”

Additionally, user IDs facilitate evaluation of ad campaigns’ effectiveness because they allow

publishers and advertisers to track whether a user took a subsequent action (e.g., clicking on an ad,

signing up for a service, or purchasing a product). This “attribution” is critical for some ad

campaign billing models, including cost-per-conversion models whereby advertisers are charged

only when users take a specified action.

   37.     The second critical task ad servers perform is managing how publishers sell ad space

indirectly through advertising marketplaces such as ad exchanges. Publisher ad servers connect

with marketplaces to let publishers automatically route their inventory into multiple different

marketplaces as the users load publishers’ webpages. The Dallas Morning News currently routes

their online advertising inventory to more than seven exchanges. As the middleman between a

publisher and exchanges, the ad server controls how different exchanges, and even networks, can

access and compete for a publisher’s inventory.



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   38.     The third critical task performed by ad servers is routing inventory correctly between a

publisher’s direct and indirect sales channels. As Google’s internal documents show, only a tiny

percentage of publishers’ ad impressions are considered

                                             . Indeed, publishers generally make almost all their

revenue—      percent—from just a small percent—          percent—of their impressions. When a

publisher like ESPN sells their most valuable inventory directly to an advertiser like Fanatics.com

for premium prices, they rely on their ad server to allocate the impressions targeted to high-value

users—e.g., sports fanatics who have a propensity for buying merchandise for their favorite sports

team—to those direct deals. The ad server should then route the impressions that ESPN does not

sell directly to advertisers onward to exchanges.




   39.     Because the ad server sits between a publisher and the publisher’s indirect sales

channel, ad server can obstruct competition between the multiple exchanges competing for

publishers’ impressions in multiple ways. For example, the ad server might interfere with a

publisher’s ability to share full information about its impressions with exchanges (e.g., the user

IDs associated with each publisher impression). Alternatively, an ad server might block publishers

from knowing how their inventory is performing in particular exchanges. Without this information,

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a publisher cannot reward a better-performing exchange with more of its business. Transparency

fuels competition between marketplaces to maximize value for publishers, and ultimately, for the

consumer.

   40.        Despite the relative complexity of ad servers, prior to Google’s entrance into the

publisher ad server market, ad servers were “a commodity good.” They charged publishers a low

cost-per-impression rate or a monthly subscription price for the total number of ad impressions

managed and served. However, Google’s conduct has substantially changed the structure of this

market.

   41.        Google completely controls the publisher ad server market for display inventory

through its product called Google Ad Manager (GAM). Google originally acquired its publisher

ad server in 2008 from DoubleClick. Today, GAM controls over 90 percent of this product market

in the United States. Essentially every major website (e.g., USA Today, ESPN, CBS, Time,

Walmart, and Weather.com) use GAM. As a result, GAM, as the middleman between publishers

and exchanges, has the power to foreclose competition in the exchange market.

         2.      Electronic Marketplaces for Display Advertising: Exchanges and Networks

   42.        The vast majority of online publishers in the United States today sell at least some of

their inventory to advertisers indirectly through advertising marketplaces: exchanges and

networks. Large publishers like CNN and The Wall Street Journal mostly use ad exchanges,

whereas smaller publishers like local newspapers and individual blogs mostly use ad networks.

                 i.      Display Ad Exchanges

   43.        Ad exchanges for display ads are real time auction marketplaces that match multiple

buyers and multiple sellers on an impression-by-impression basis. A publisher’s ad server can

route the publisher’s inventory to such exchanges in real time as users load webpages. These

exchanges then connect with advertisers through their respective middleman, the advertising
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buying tools. In other words, the entities that have a “seat” to bid on exchanges are not the actual

advertisers, like Ford or a local car dealership, but their respective agents. In addition, exchanges

do not bear inventory risk. That is, they only connect publishers’ inventory with an immediate

willing buyer.




   44.      Ad exchanges are mostly intended for very large online publishers. To sell in ad

exchanges, online publishers must meet minimum impression or spend requirements. For example,

Google’s AdX exchange is only open to publishers that have 5 million page views or 10 million

impressions per month. Such requirements put exchanges out of reach for many small online

publishers, like many local newspapers or blogs.

   45.      Google owns and operates the largest display advertising exchange in the United States,

historically called the Google Ad Exchange or “AdX,” for short. Google compares its ad exchange

to financial exchanges like the NYSE and Nasdaq. However, AdX is not an open exchange like

the NYSE.

   46.      Ad exchanges charge publishers a share of transaction value, which is currently 5 to 20

percent (or more) of the inventory’s clearing price. Google’s exchange charges publishers

   percent of exchange clearing prices—double to quadruple the prices of its nearest exchange

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competitors. For example, if Google’s exchange sells $100,000 worth of a publisher’s inventory,

Google extracts at least $      . By contrast,

                , which results in substantially lower fees on the same $100,000 of inventory.



                                                             . Such dramatically different exchange

prices reflects Google’s market power.

   47.      Google’s exchange fees are also exponentially higher than a similar exchange fee on a

stock exchange where, by contrast, fees are low and set by volume instead of transaction value.

Imagine if the NYSE charged an individual a fee equivalent to a double-digit percentage of the

value of the overall stock trade—e.g., $         as a transaction fee on a $100,000 stock trade. That

is how much Google charges on transactions between an online publisher like ESPN and an

advertiser like Fanatics.

   48.      Internally, Google concedes that

                                                               . As one Google employee frankly

conceded,                                                                   like Google’s AdX, but

should instead be                                                              As this litigation will

make clear, Google can charge these fees because Google uses its monopoly over publishers’ ad

servers to unlawfully foreclose competition in the exchange market.

   49.      By controlling publishers’ inventory through its ad server and simultaneously operating

the largest advertising exchange, Google has inherent conflicts of interest between publishers’ best

interests and its own. Google charges a low cost for acting as publishers’ sell-side intermediary

but then makes substantially higher fees when selling those publishers’ inventory in its exchange.




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Google has a strong incentive to steer publishers’ inventory towards its exchange where it can

extract a transaction fee                    the rate of its nearest exchange competitors.




               ii.     Ad Networks for Display and Ad Networks for Mobile In-App
                       Inventory

   50.     Whereas large online publishers like CBS and CNN mostly sell their inventory through

ad exchanges, small online publishers like local online newspapers and blogs mostly sell their web

display inventory in marketplaces called “ad networks.” Like ad exchanges, ad networks match

publishers’ inventory with advertisements from advertisers. However, unlike exchanges, networks

do not require publishers to meet high monthly minimum impression and spend requirements.

Networks also obscure prices within auctions, enabling them to capture undisclosed margins—

buyers and sellers cannot know whether the network takes, for instance, 20 or 50 percent of

matched trades. In addition, networks can carry inventory risk. That is, they can purchase

impressions on their own behalf as opposed to on the direct behalf of a specific advertiser or

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on access to Google’s exchange and networks. Google is the bottleneck between publishers and

advertisers.




         3.      Ad Buying Tools for Large and Small Advertisers

   53.        Just as publishers rely on ad servers to sell their inventory in ad exchanges, advertisers

use specialized middlemen, ad buying tools, to represent their own interests. Large advertisers use

ad buying tools called demand-side platforms (“DSPs”), while small businesses use pared-down

analogues. Google analogizes these buying tools to “brokerage houses” in financial markets, with

small advertisers using a “fund manager to pick stocks for you” and large advertisers “using

ETrade to pick stocks yourself.”




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   54.     Just as publishers typically use only a single ad server, small advertisers tend to use

just one intermediary at a time to optimize buying across multiple exchanges and networks. Ad

buying tools let advertisers set parameters integral to their purchasing decisions, including details

about the users they wish to target and the maximum bids they are willing to submit and pay for

particular types of display inventory. On an advertiser’s behalf, an ad buying tool uses these

parameters to automatically bid on ad space in exchanges and networks in an effort to acquire the

space at the lowest cost. Some enterprise buying tools, including The Trade Desk, compete by

minimizing conflicts of interest and representing only the advertiser’s side of the transaction.

   55.     The ad buying tools made for small advertisers are rarely interchangeable with the ad

buying tools designed for a large advertiser, known as a demand side platform (“DSP”). These two

sets of ad buying tools differ in both the features that they offer and in their minimum spend

requirements. The tools made for large advertisers offer complex bidding and trading options,

which are not appropriate for the smaller advertisers that lack the same sophistication. In fact,

because of the complexity of the tools made for large advertisers, the tools themselves are

frequently not used or managed by the actual advertisers themselves (e.g. Ford), but by the

advertisers’ specialized ad buying team (e.g., an ad agency or the specialized division at an agency

called the “trading desk”). Consequently, the different types of ad buying tools are also sold at

different price levels. The DSP tools made for large advertisers usually require high minimum

monthly spend commitments, sometimes of $10,000 or more, whereas the ad buying tools for

small advertisers can require just a few dollars to get started. For example, Amazon’s enterprise

ad buying tool (i.e. DSP) for large advertisers requires a monthly commitment of over $35,000,

while Google’s buying tool for small advertisers, Google Ads, has a monthly minimum spend of

zero dollars.



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   56.     When a user visits a publisher’s website, the ad server can route the publisher’s

available impressions to exchanges along with information about the impression, including the

user ID, the parameters of the ad slot, and any rules about pricing. Each exchange then sends a

“bid request” to the ad buying tools who have a “seat” to bid in the exchange and act as advertisers’

middlemen. These bid requests also contain information about the impression at issue and they set

how long advertisers have to respond with their “bid response,” which is called a “timeout.” Within

this timeframe, which is typically a mere fraction of a second, each ad buying tool must unpack

the information contained in the bid request, gather personal information about the user, determine

the appropriate price to bid on behalf of an advertiser, and return the bid response to the exchange

before time expires. After the set time, each exchange closes its auction, excludes late bids, and

chooses a winner. The publisher’s ad server then selects the winning advertisement associated with

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the highest exchange bid and returns it on the user’s page before the page has even finished loading.

The user simply sees a display ad adjacent to the content they are reading. This real-time auction

happens every minute of every day for millions of Americans browsing the internet.




   57.     To compete effectively in an exchange’s auction, ad buying tools must be able to

identify the characteristics of the user associated with each impression (e.g., an impression targeted

to John Connor or an impression targeted to users who like motorcycles) and return bids to

exchanges before their timeout expires. An exchange as large as Google’s can exclude competition

between the bidders in its auction by giving a subset of bidders an information advantage (e.g.,

more robust information about the user) or a speed advantage (e.g., longer timeouts, which

translates to more time to return bids).


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   58.     Google operates the largest buy-side middlemen for advertisers, i.e., the ad buying tools

for both small and large advertisers. Google’s enterprise buying tool for large advertisers such as

Toyota or Nestle is called DV360, which Google built from its acquisition of the DSP Invite Media.

Google’s ad buying tool for small advertisers is called “Google Ads” and it is designed for (what

Google calls) the                                              DV360 charges advertisers a

percent commission to purchase inventory from exchanges, whereas Google Ads charges small

advertisers a much higher and undisclosed         percent commission when purchasing inventory

from Google’s exchange.

   59.     Although Google executives considered

             they ultimately chose instead to stack the deck in favor of Google by owning the

exchange and giving preferred access to Google’s buy-side middlemen. Google’s exchange gives

Google Ads and DV360 information and speed advantages when bidding on behalf of advertisers.

Such preferred access helps explain why Google’s ad buying tools win the overwhelming

majority—over       percent—of the auctions hosted on Google’s leading exchange.

   60.     Google’s ad buying intermediaries, unlike fund managers and brokers in financial

markets, also do not act in the best interests of their clients. Google subjects the smaller and less

sophisticated advertisers to complicated arbitrages that are extraordinarily difficult to understand.

Specifically, when bidding on behalf of those advertisers on Google’s exchange, Google can

manipulate or adjust their bids. Google also processes their bids through two auctions, keeps a

spread between the two, and does not disclose to the advertiser the price that ad space actually

cleared on Google’s exchange. Google discloses this in fine print distributed across multiple

separate documents. When Google ultimately explains why it “automatically” routes advertisers’

bids across multiple markets, the language is misleading: “If you go butterfly hunting during the



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height of summer, the bigger your butterfly net, the more butterflies you’ll be able to catch.”

Google, however, does not clarify who it is hunting.

                  VI. THE RELEVANT MARKETS AND GOOGLE’S MARKET POWER

A.         Publisher Inventory Management: Publisher Ad Servers

           1.      Publisher ad servers in the United States are a relevant antitrust market.

     61.        Publisher ad servers for web display inventory in the United States are a relevant

antitrust product market. Publisher ad servers are inventory management systems that publishers

use to holistically manage their online display advertising inventory—the image-based graphical

ads alongside web content. They provide features such as: (1) reservation-based sales technology

to support a publisher’s direct sales efforts; (2) inventory forecasting technology to help a publisher

determine what inventory will be available to sell; (3) a user interface through which a publisher’s

sales team can input directly sold campaign requirements; (4) co-management of direct and

indirect sales channels; (5) report generation of ad inventory performance; (6) invoicing

capabilities for a publisher’s direct campaigns; and (7) yield management technology.

     62.        Most publishers single home and use one ad server to holistically manage all their web

display inventory. When a publisher sells more than one type of inventory (e.g., web display, in-

app, or video), then they may use one ad server product for their display inventory and a second

ad server for their in-app or video inventory or an ad server that manages more than one format.

Were a publisher to use multiple ad servers for the same format, they would have to resolve

conflicts between ad servers, thereby defeating the point of an ad server’s inventory management

functions.

     63.        Publisher ad servers are unique. They are not interchangeable with exchange, network,

or ad buying tools for large or small advertisers. Those tools do not similarly manage a publisher’s



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direct sales channel or offer the reporting, invoicing, or forecasting functions that publishers need

to holistically manage inventory and optimize yield.

   64.     Google, when seeking to acquire DoubleClick, made explicit representations to the

Federal Trade Commission regarding the non-interchangeability of ad servers and advertising

marketplaces. Google described any suggestion that ad servers and ad networks are

interchangeable as                                                                      Specifically,

with regard to its ad server, then called “DFP,” and its display ad network, which Google referred

to as “AdSense,” Google stated:




                                                                 In other words, Google already

acknowledges that while other publisher ad servers are substitutes for Google’s ad server, ad

networks and other advertising marketplaces are not.

   65.     The customers of publisher ad servers are large publishers who need to manage both

direct and indirect sales channels, including for example, online publishers such as CBS, Spotify,

Time, ESPN, Major League Baseball, Walmart, Weather.com, The New York Times, The Wall

Street Journal, eBay, NBC, Pandora, Trip Advisor, NPR, Buzzfeed, and many more.

   66.     With respect to the publisher display ad server product market, the relevant geographic

market is the United States. Publisher ad servers available in other countries are not a reasonable

substitute for ad servers available in the United States. Therefore, the United States is the relevant

geographic market.




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         2.      Google has monopoly power in the publisher ad server market.

   67.        Google has monopoly power in the publisher display ad server market in the United

States. Google’s monopoly power in this market is confirmed by its high market share. More than

90 percent of large publishers use Google’s publisher ad server, Google Ad Manager (“GAM”

f/k/a “DFP”), according to published reports. Google internal documents also measured that GAM

served the vast majority—      percent—of all online display ad impressions in the United States in

the third quarter of 2018.

   68.        Google’s own documents confirm that it has held a consistent monopoly position in the

publisher ad server market for display inventory for at least a decade. By 2012, just four years after

Google acquired DoubleClick, Google estimated that          percent of large online publishers in the

United States used Google’s ad server. Since then, Google’s closest competitors have either exited

the market entirely or have been relegated to negligible market shares.

   69.        Google’s monopoly power in the publisher ad serving market is further confirmed by

direct evidence. Google has charged supra-competitive fees and degraded quality in the publisher

ad server market, defying the existence of any competitive restraints whatsoever. For example, as

part of managing publishers’ indirect sales channels, publisher ad servers can charge publishers a

fee for routing their inventory to exchanges and networks. When deciding how much to charge

publishers for routing their inventory to non-Google exchanges, Google

                                                                                          and did not

consider competitive constraints such as what the market would bear. On top of this, Google’s ad

server charges a        percent fee of gross transactions for routing publishers’ inventory to ad

networks. When publishers route their inventory to exchanges and networks using the competing

product called header bidding, publishers pay no fee whatsoever for routing to exchanges.

Google’s monopoly power over ad servers is also exhibited by the manner in which Google can
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and does degrade the quality of its publisher ad server. The examples here are numerous and

discussed throughout this Complaint. One example is Google’s prohibition on publishers setting

different price floors for different ad exchanges and ad buying tools, which depressed publishers’

ability to maximize inventory yield. Despite widespread publisher dissatisfaction over the price

and quality of Google’s ad server, Google has not suffered any loss to its ad serving market

dominance.

     70.        Google’s market power in the publisher ad server market is also protected by significant

barriers to entry. One barrier to entry is switching costs. Switching online ad servers is risky and

resource intensive. Some publishers have inventory on hundreds of thousands, or even hundreds

of millions, of webpages, which makes switching ad servers exceedingly expensive, difficult, and

time consuming. Moreover, the switching process also entails significant revenue risk; any glitch

during the transition can disrupt delivery of advertiser campaigns on the publisher’s website, which

would jeopardize the publisher’s ability to collect advertising revenue. Industry experts compare

a change in ad servers to “switching engines in mid-flight.” Google’s internal documents

                                     . In addition to high switching costs, Google imposes additional

barriers to entry in the ad server market through anticompetitive conduct.

B.         Display Ad Exchanges

           1.      Display ad exchanges in the United States are a relevant antitrust market.

     71.        The market for web display advertising exchanges in the United States is a relevant

antitrust product market. These exchanges are marketplaces that auction multiple publishers’

display inventory to multiple end-advertisers through advertisers’ middlemen on an impression-

by-impression basis and in real time. On the sell side, exchanges generally interface with

publishers through publishers’ ad servers such as Google’s ad server. On the buy side, they

interface with advertisers through ad buying tools, including ad buying tools for large advertisers,
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such as DV360 and The Trade Desk, ad buying tools for small advertisers, such as Google Ads,

and sometimes, even networks.

   72.     Ad exchanges are not interchangeable with publisher ad servers, ad networks, or ad

buying tools. Publishers cannot sell their display ad inventory on an impression-by-impression

basis and in a real-time marketplace to end-advertisers using publisher ad servers, networks, or ad

buying tools. Moreover, unlike ad networks, ad exchanges are designed to integrate with multiple

ad buying tools so that advertisers can optimize trading across exchanges; networks are more

restricted. Reflecting the fact that exchanges and networks offer different feature sets, exchanges

require publishers to commit to a large monthly volume of impressions or revenue, whereas

networks typically do not. Publishers that use Google’s ad server to sell their display ad inventory

through ad marketplaces primarily sell their inventory in exchanges, not networks. As an example,

one major online publisher in the United States sold over 80 percent of their indirect display

inventory to exchanges, not networks.

   73.     Ad exchanges are also not interchangeable with the direct sales channel, for publishers

and advertisers. For publishers, selling inventory directly requires that they develop expertise

around managing, selling, and serving campaigns, which requires a specialized skill set and is

expensive to do. For advertisers, buying inventory directly from publishers also requires an

additional skill set and ongoing investment. For direct deals, publishers and advertisers must

typically hire and maintain internal staff to manage these one-to-one relationships. As a result, the

direct sales channel tends to be reserved for high-value publisher-advertiser transactions. For

instance, an online publisher like The Wall Street Journal would not directly transact with the

advertiser Ford if the monthly value of the transactions was not at least several thousand dollars.




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They would, however, gladly transact with Ford indirectly through an ad exchange even if the total

value of monthly transactions was minimal, even a few dollars.

   74.        With respect to display ad exchanges, the relevant geographic market is the United

States. Display ad exchanges available in other countries are not a reasonable substitute for display

ad exchanges available in the United States. Therefore, the United States is a relevant geographic

market.

         2.      Google has monopoly power in the display ad exchange market.

   75.        Google has monopoly power in the United States in the display ad exchange market.

Google’s leading exchange, historically called AdX, transacts over            percent of all display ad

inventory sold on ad exchanges in the United States, based on an analysis of data from November

2018 to October 2019. Despite an early competitive landscape, Google’s display ad exchange has

been the top exchange in the United States since at least 2013. Additionally, analysis of more

recent publisher and exchange data shows that Google’s share of the ad exchange market has

substantially increased above      percent since Google’s introduction of Unified Pricing rules in

late 2019. Finally, for online publishers reaching high-value users, Google’s exchange transacts

an even greater share of publishers’ exchange impressions. For example, Google’s exchange

transacts over      percent of one major online publisher’s exchange impressions, even though the

publisher routes and sells its impressions in at least six other exchanges.

   76.        The closest competitors to Google’s exchange include exchanges from Rubicon,

AppNexus, and Index Exchange, and those exchanges transact a much smaller share of publishers’

exchange impressions. While a review of major online publishers’ exchange records demonstrates

that Google’s exchange routinely transacts over         percent of indirect impressions that flow

through exchanges, Google’s closest exchange competitors typically transact only               percent

of the same publishers’ exchange impressions.
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   77.       Direct evidence further illustrates Google’s monopoly power in the display ad

exchange market. Google’s exchange has the power to control prices. It charges supra-competitive

prices, which are around            percent of every trade. Google’s closest exchange competitors

charge                        than the prices of Google’s exchange. For example, Index Exchange

charges      percent, Rubicon charges     percent, and AppNexus has charged between

percent.

   78.       Google’s insulation from price pressure in the exchange market also demonstrates the

substantial market power of its exchange. Google’s internal documents in 2018 observed that

                                                                     But Google did not reduce its

take rate. In fact, comparing 2017 to 2019, Google’s exchange take rate actually increased (from

   percent for third-party buyers buying through AdX in 2017 to       percent in 2019).

   79.       The market power of Google’s exchange is also evidenced by the fact that it has not

lost market share when its exchange competitors drop their prices. For example,




                                             .

   80.       Google’s market power in the exchange market is also protected by a barrier to entry.

New entrants must achieve sufficient scale and network effects to attract publishers and advertisers

to use their exchange. In addition, Google’s anticompetitive conduct has created artificial barriers

to entry. One significant Google-created barrier arises due to Google’s publisher ad server

preferentially routing trading to Google’s exchange through a host of anticompetitive conduct

addressed below. Google creates another barrier to entry by exclusively and preferentially routing




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the bids of advertisers using DV360 and Google Ads to its ad exchange through a host of other

anticompetitive conduct discussed below.

C.         Display Ad Networks

           1.      Display ad networks in the United States are relevant antitrust market.

     81.        The market for display ad networks in the United States is a relevant antitrust product

market. Display ad networks are marketplaces that match small publishers’ ad inventory with

advertisers without providing impression-by-impression price transparency to the sell or buy sides

of the transaction. Networks obscure prices within auctions, enabling them to capture undisclosed

margins—buyers and sellers cannot know whether the network takes, for instance, 20 or 50 percent

of matched trades. In addition, networks can carry inventory risk. That is, they can purchase

impressions on their own behalf as opposed to on the direct behalf of a specific advertiser or

advertiser middleman.

     82.        Ad networks are not interchangeable with publisher ad servers, exchanges, or ad buying

tools. While networks, like exchanges, are marketplaces for advertising inventory, they are not

interchangeable with exchange marketplaces because they operate in a different manner and serve

a different type of publisher. Networks do not offer the same type of impression-by-impression

price transparency to publishers and advertisers that exchanges do. Display ad networks also

typically serve much smaller publishers that do not have sufficient traffic to sell their inventory

through exchanges. Networks require little to no upfront spending by publishers, and publishers

can join networks to sell their inventory even if they do not have much inventory to sell. For

example, AdSense publishers on the Google Display Network do not have monthly page view or

impression requirements. These types of publishers typically include local newspapers, niche

websites, blogs, and more.



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   83.        With respect to display ad networks, the relevant geographic market is the United

States. Display ad networks available in other countries are not a reasonable substitute for display

ad networks available in the United States. Therefore, the United States is a relevant geographic

market.

         2.      Google has monopoly power in the display ad network market.

   84.        Google has monopoly power in the display ad network market in the United States.

Google describes its ad network, the Google Display Network (“GDN”), as

                            Google’s network reaches more user impressions and websites than any

other display network, including over 2 million small online publishers globally. Google has

immense scale amongst the long tail of small online publishers.

   85.        Direct evidence confirms the monopoly power of Google’s display ad network. GDN

charges very high double-digit          percent commission on advertising transactions, which,

according to public sources, is          the “standard rate” elsewhere in the industry. Internally,

Google acknowledges that its fees are very high and that Google can demand high fees because of

its market power. For example, in one internal 2016 conversation, Google executives commented

that Google’s ad networks make                          by retaining a    percent commission while

also noting that they

                                     explained one Google employee when addressing the lack of

viable competing ad networks available to its customers.

   86.        The market power of Google’s display ad network is protected by barriers to entry.

Google imposes a significant barrier to entry by using its publisher ad server to preferentially route

trading to its display ad network through a host of anticompetitive conduct addressed below.

Google also generates a further barrier when its ad buying tool Google Ads preferentially routes

trading to its GDN ad network through a host of anticompetitive conduct discussed below. Finally,
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ad networks need scale on both the supply and demand sides; natural network effects make it

difficult for any new networks to enter and achieve scale.

D.         Display Ad Buying Tools for Large and Small Advertisers

           1.      Display ad buying tools for small advertisers in the United States is a relevant
                   antitrust market.

     87.        The market for display ad buying tools for small advertisers in the United States is a

relevant antitrust market. These tools provide an interface that smaller advertisers such as real

estate agents, plumbers, builders, doctors, and car dealerships can use to bid on and purchase the

display ad inventory trading on ad exchanges and in ad networks. In this respect, these tools allow

advertisers to optimize for their own interests, including purchasing quality display ad inventory

for the lowest prices.

     88.        Ad buying tools for small advertisers are not interchangeable with ad buying tools for

large advertisers, which are sometimes called demand-side platforms (or “DSPs”). The two sets of

tools serve different types of advertisers, exhibit different pricing and entry levels, and offer

different feature sets.

     89.        Ad buying tools for small advertisers are also not interchangeable with ad servers, ad

networks, or ad exchanges. Exchanges, servers, and networks do not provide small advertisers

with a buying interface to bid on and purchase ad inventory in exchanges or networks.

     90.        The relevant geographic market for display ad buying tools for small advertisers is the

United States. Display ad buying tools for small advertisers available in other countries are not a

reasonable substitute for the tools available in the United States. Therefore, the United States is a

relevant geographic market.




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          2.      Display ad buying tools for large advertisers in the United States is a relevant
                  antitrust market.

    91.        The market for display ad buying tools for large advertisers in the United States is a

relevant antitrust market. These tools provide an interface that large advertisers, such as Ford

Motor Company, use to bid on and purchase display ad inventory on ad exchanges and in ad

networks. In this respect, they are the buy-side counterpart to publisher ad servers, allowing large

advertisers to optimize for their own interests, such as buying display ad inventory for the lowest

price.

    92.        The enterprise ad buying tools for large advertisers are not interchangeable with the ad

buying tools made for small advertisers. The tools for small advertisers do not meet the

transparency, optimization, sophistication, or bidding needs of large advertisers.

    93.        The relevant geographic market for display ad buying tools for large advertisers is the

United States. Display ad buying tools for large advertisers available in other countries are not a

reasonable substitute for the tools available in the United States. Therefore, the United States is a

relevant geographic market.

          3.      Google has monopoly power in the ad buying tool market for small advertisers.

    94.        Google’s ad buying tool “Google Ads” has monopoly power in the United States in the

ad buying tool market for small advertisers. Buying tools for small advertisers serve startups and

local businesses such as real estate agents, doctors, dentists, restaurants, automotive repair shops,

craftsmen, electricians, hair salons, architects, and landscapers. Google’s records reveal that

advertisers using Google Ads purchase             percent or more of the impressions in Google’s

exchange, the largest exchange, and over            percent of the impressions on Google’s display

network, GDN.




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   95.     The market power of Google Ads is also evidenced by the fact that Google’s exchange

charges supra-competitive fees for exclusive access to Google Ads advertisers. Google’s

documents confirm as much, describing

                                                                                                    .

The ability to extract such rents, dependent on Google Ads exclusivity, demonstrates Google Ads’

monopoly power. Running sequential auctions allows Google to extract additional non-transparent

margins, which is not disclosed to advertisers.

   96.     Google Ads also has market power over the small advertisers it serves because most

rely on a single ad buying tool for a given advertising format (e.g., display ads) and have switching

costs. Using multiple ad buying tools imposes additional costs on advertisers because of the

additional time, effort, training, and expense needed to manage campaigns across tools; Google

Ads also does not let small advertisers completely export the data they need to easily switch to

another tool. As a result, while very large advertisers might be able to absorb the costs of using

more than one tool at a time, small advertisers almost always use just one ad buying tool at a time.

   97.     Google’s market power with Google Ads is protected by four critical barriers to entry.

First, Google Ads charges opaque fees and does not let advertisers readily audit the ad inventory

Google purchases on their behalf, both of which act as a barrier to entry because they impede

advertisers from switching to a low-cost provider. Second, Google’s practice of withholding

YouTube video inventory from rival ad buying tools locks small advertisers who use one tool at a

time into Google’s ad buying tool. In addition, other providers of buying tools indicate that it does

not make economic sense to try to compete with Google Ads for small advertisers, because they

cannot achieve sufficient scale with smaller advertisers who want to buy display, YouTube, and

even search ads, through just one tool. Finally, advertisers use ad buying tools to keep track of the



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competition from 24/7 Real Media (owned by WPP PLC), aQuantive (owned by Microsoft), and

ValueClick (publicly traded).

       100.     Google, however, quickly began pursuing a strategy to foreclose competition in both

markets. At the time, Google operated an ad buying tool for small advertisers and had market

power in this market. Nearly                      advertisers—including restaurants, clothing stores,

doctors, and electricians, across the country—used its ad buying tool for small advertisers to bid

on display ad space. Immediately after acquiring a publisher ad server and launching its exchange

in 2009, Google made it so the small advertisers bidding through Google Ads had to transact in

both Google’s ad network and Google’s ad exchange. Google also made it so that the large

publishers wanting to receive bids from the many advertisers who used Google’s ad buying tool

had to trade in Google’s exchange and license Google’s ad server. Google demanded that it

represent the buy-side, where it extracted one fee, as well as the sell-side, where it extracted a

second fee, and force transactions to clear in Google’s exchange, where Google extracted a third

fee.

       101.     For at least a decade, Google has had market power in the United States as an ad buying

tool for small advertisers. Google originally called its product for small advertisers AdWords,

rather than Google Ads. In 2009, 250,000 small- to medium-sized advertisers in the United States

used its ad buying tool to purchase search and display ads. Since then, the number of advertisers

using its tool to purchase display inventory on exchanges has rapidly increased. In 2013, the

number of advertisers using Google Ads doubled to two million. Today, millions of small- to

medium-sized businesses use Google Ads to bid on and purchase display ad space trading in

Google’s AdX exchange and those advertisers do not have alternative tools to use.




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   102.     Part of the reason that Google was able to gain a monopoly in the market for ad buying

tools for small advertisers was because Google had a monopoly in the display ad network market

and the search advertising markets. Advertisers had to use Google Ads to purchase ad space

through Google’s ad network, GDN, which was the leader in reach (unique visitors) among

competitors in 2009. Small advertisers also had to use Google Ads to purchase Google Search

inventory, a market in which Google had a monopoly since 2005. As background, the FTC

investigated Google’s practice of withholding its Search advertising inventory from rival

advertiser buying tools, and Google voluntarily amended its withholding conduct in 2013.

However, by that time, the damage was done. By 2013, Google has successfully pushed

competition out of the market.

   103.     Google Ads also had market power over its small advertisers because those advertisers

almost always use one tool at a time when bidding for ad space. When deciding which ad buying

tool to use, most advertisers chose Google’s because it was the only way to purchase search ads

and display ads on Google’s leading display network GDN.




   104.     Google monopolized the exchange and ad server markets by forcing publishers to

license Google’s ad server and trade in Google’s exchange in order to receive bids from the one

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million advertisers using Google’s buying tool, Google Ads. First, Google automatically routed

small advertisers’ GDN bids to Google’s exchange. Additionally, Google only routed small

advertisers’ bids to Google’s new exchange and refused to route advertisers’ bids to non-Google

exchanges, even though those exchanges might have been selling identical ad space for lower

prices. Next, Google programmed its exchange to return real-time bids only to those publishers

using Google’s new publisher ad server.




   105.     In doing so, Google acted against the best interests of the small advertisers bidding

through Google Ads. If Google were serving the interests of the small businesses using Google

Ads, Google would have routed their bids to the exchanges that offered the lowest prices for the

identical goods, just as competing ad buying tools did. In a competitive market, advertisers prefer

to buy across multiple exchanges in order to reach the largest possible pool of supply at the best

possible prices, thereby enabling and fostering exchange competition.

   106.     Internal Google documents show that Google imposed these bid routing restrictions for

the purpose of foreclosing competition. In a Display Strategy document from August 2012, Google

noted that they




   107.     Because publishers are interested in exchanges returning real-time bids for their

inventory, Google effectively required publishers to use its publisher ad server in order to work

with its exchange. Publishers also only use a single ad server at a time to manage inventory, which

meant they had to either forgo the use of any competing ad server or forgo access to the enormous



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pool of advertisers bidding through Google Ads. From the first days of Google’s AdX exchange,

advertisers bidding through Google Ads made up the vast majority of purchases in Google’s

exchange: around        of total transactions by revenue within a year of AdX’s launch,   percent

of total transactions a few years later, and about          of all transactions today.

    108.     A news article in The Wall Street Journal explained Google’s conduct as follows:

“Using Google’s DoubleClick for Publishers is the only way to get full access to Google’s AdX

exchange, publishers say. For many years, Google’s AdX was the only ad exchange that had

access to this fire hose of ad dollars.”


    109.     Google’s conduct successfully foreclosed competition in the publisher ad server and

exchange markets. When Google acquired the DoubleClick ad server in 2008, Google’s share of

this market was around 48 to 57 percent, and Google faced significant competition in both the ad

server and ad exchange markets. In the ad server market, Google has now effectively foreclosed

publisher ad server competition from companies that included 24/7 Real Media, aQuantive, and

ValueClick. As internal Google documents show, by coupling its ad server with its market power

on the buy side, Google prevented customers from switching to competing ad servers and quickly

cornered the rest of the market. By 2011, Google’s ad server was used by approximately    percent

of publishers in the United States, and by 2019, Google’s share of the market increased to over

percent of large publishers.

    110.     Google maintained its monopoly power over ad servers and its stranglehold in the ad

exchange market by continuing the same exclusionary conduct. In 2016, Google started technically

routing the bids belonging to small advertisers using Google’s buying tool to non-Google

exchanges, but Google significantly and intentionally restrained the routing of bids to non-Google




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exchanges. Google’s exchange continued to only return live bids to publishers using Google’s ad

server. Google did not want to actually undo its AdWords—exchange—ad server tie.

     111.     Google similarly requires publishers seeking access to large advertisers’ bids to trade

in Google’s exchange (and pay Google’s exchange fees) and to license Google’s ad server (and

pay Google’s ad server license fees). Google’s strategies here are numerous and discussed

throughout this Complaint. For instance, Google uses mandatory price floors (discussed below in

paragraphs 231-235) and other auction manipulations like the              program (discussed below

in paragraphs 132-138) to force publishers to transact with DV360 advertisers in Google’s

exchange. Uniform price floors are not competition on the merits. For reasons discussed further

below, uniform price floors force publishers to trade with DV360 advertisers in Google’s

exchange. On top of using Unified Price floors, Google created another program called

                                                                   . Finally, Google makes many of

the features in DV360 (e.g., affinity audiences targeting) unavailable to advertisers if they

participate in exchanges other than Google’s, which results in many advertisers using Google’s

exchange even though they would not do so in a competitive market. Because Google’s exchange

then only routes live bids to publishers using Google’s publisher ad server, publishers are

effectively forced to use Google’s publisher ad server to receive bids from DV360 advertisers.

This conduct permits Google to maintain its monopoly power in the publisher ad server market

and exclude competition in the exchange market. Google has specifically discussed this

effect internally.

B.      Google uses its control over publishers’ inventory to block exchange competition.

     112.     In addition to foreclosing exchange competition by forcing publishers to transact in

Google’s exchange, Google used its control over publishers’ inventory and its status as publishers’

agent to foreclose exchange competition through a pattern of anticompetitive conduct. Google
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restricted publishers from selling their inventory in more than one exchange at a time, started

routing publishers’ inventory to Google’s exchange, and blocked publishers from accessing and

sharing information about their heterogeneous inventory with exchanges. In doing so, Google

foreclosed exchange competition and dramatically increased the cost of transacting on ad

exchanges, enabling Google’s exchange to charge very high fees that even Google could not justify

internally. Internally, Google admitted that an exchange should be more of

                                 and not                                          as it is for Google.

Google’s anticompetitive conduct, however, ensured that publishers and advertisers could not

benefit from any such                  .

        1.      Google blocks publishers from sending their inventory to more than one
                marketplace at a time.

    113.     Competition between exchanges promotes price competition. To circumvent this,

Google impeded real-time competition between marketplaces by forcing publishers (sellers) to

route their ad space to a single exchange, one at a time, rather than all at once. The industry referred

to this practice as waterfalling.

    114.     Starting in 2009, advertising exchanges, including Google’s ad exchange, were

designed to compete with one another by submitting real-time bids for publishers’ inventory. Ad

exchanges could consider publishers’ impressions and return live bids for publishers to consider,

accept, or ignore, all in real time.

    115.     Just as exchanges want to simultaneously compete for publishers’ inventory, publishers

want to route their ad space into multiple exchanges to benefit from access to greater advertiser

demand. One exchange might have an advertiser willing to bid a $2 dollar CPM (cost per thousand)

for a publisher’s impression, but another exchange might have a different advertiser offering a

higher price of $3 dollars.

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   116.      In addition, publishers wanted to drive competition between exchanges so that the

exchanges would compete on price and quality. Competition between exchanges forces exchanges

to compete on quality and price, regardless of whether they operate in financial markets or openly

traded online display ads. The sellers and buyers in an exchange often measure an exchange’s

efficiency using the tightness of the bid-ask spread—the difference between the bid (the amount

for which buyers are willing to sell the instrument) and the ask (the amount for which sellers are

willing to sell the instrument). Competition between electronic exchanges leads to pressure on

exchange prices and results in efficiency gains through smaller bid-ask spreads.

   117.      Google, however, foreclosed exchange competition in this manner from 2009 and

through 2016. Google used its new control over publishers’ inventory through its publisher ad

server, and Google’s control of that market, to impose on publishers a one-exchange-rule: route

inventory to only one exchange at a time. In doing so, Google impeded competition between

exchanges.

       2.       Google gives itself preferential treatment by routing publisher inventory to its
                own ad exchange and blocks competition from other exchanges.


   118.      In addition to blocking real-time competition between exchanges, Google’s ad server

foreclosed exchange competition by preferentially routing publishers’ inventory to Google’s new

exchange through a process it called “dynamic allocation.” At a high level, dynamic allocation

granted Google’s exchange a superior right of first refusal on all of a publisher’s impressions made

available to exchanges. Google blocked other exchanges from competing against its exchange for

the same inventory on the same footing.

   119.      Google’s adoption of dynamic allocation in 2010 ended DoubleClick’s neutrality as a

seller’s agent. DoubleClick operated a publisher ad server but did not have an operational



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exchange. In the period immediately before Google purchased DoubleClick, the DoubleClick

publisher ad server routed publishers’ impressions to exchanges and networks in a neutral manner.

   120.     Dynamic allocation also let Google’s exchange clear publishers’ inventory for

depressed prices. Google’s ad server let Google’s exchange compete for publishers’ impressions

by returning live bids while requiring non-Google exchanges to compete for the same impressions

with static non-live bids. Usually, an exchange’s static bid was set to equal the overall price the

exchange historically paid for publishers’ impressions. Google’s ad server passed the rival’s static

bid to Google’s exchange and permitted Google’s exchange to purchase the impression by paying

at least one penny more. In other words, Google used its control over publishers’ inventory to let

its exchange view a publisher’s valuable impressions—like a box seat at a baseball game—and

purchase that impression for just a penny more than the average price that a non-Google exchange

paid for any old impression—just like the average price for any seat in the stadium.

   121.     With waterfalling and dynamic allocation, Google’s ad server delivered a one-two

punch to other exchanges. Google used waterfalling to block other exchanges from competing

simultaneously for impressions. Then, through dynamic allocation, Google’s ad server passed

inside information to Google’s exchange and permitted Google’s exchange to purchase valuable

impressions at artificially depressed prices. Publishers were deprived of competitive bids and

competing exchanges were left with the low-value impressions passed over by Google’s exchange.

   122.     Once Google routed publishers’ impressions to Google’s exchange, Google further

harmed publishers by foreclosing competition between the bidders in its exchange auction. Google

considered, but ultimately

                          Instead, Google chose to have a rigged exchange that benefit the Google

ad buying tools bidding in the auctions. In other words, it would



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             As a result, Google’s ad buying tools Google Ads and DV360 win over          percent of

Google exchange auctions.

   123.      Google’s publisher ad server, like financial trading intermediaries, was supposed to act

in the best interests of its customers by maximizing publishers’ revenue and inventory yield.

Consequently, Google concealed the nature of its conduct to publishers and falsely told them that

dynamic allocation was good for them and helped them make more money. It “maximizes

revenue,” Google advertised. In fact, dynamic allocation did not maximize publishers’ yield.

   124.      Google knew that dynamic allocation prevented competition among exchanges and did

not maximize publisher revenue. Google internally discussed

                                                             . In Google’s words, online publishers

could                                                                                        In fact,

according to one Google study, competition between exchanges increased publishers’ clearing

prices by an average of 40 percent. One industry publication put it succinctly, “[t]he lack of

competition was costing pub[s] cold hard cash.”

        3.      Google restricts information to foreclose competition and advantage itself.

   125.      Google further foreclosed competition by blocking publishers’ ability to access

information about their heterogenous inventory and share that information with exchanges.

Google’s ad server manages publishers’ heterogenous inventory and maximizes inventory yield.

However, the ad server is what also identifies the readers and visitors associated with online

publishers’ inventory, assigning publishers’ users IDs. In 2009, Google’s ad server started hashing

or encrypting publishers’ ad server user IDs and giving publishers and advertisers different IDs for

the same user. Thus, Google strategically prevents the user from being easily identified with one

critical caveat: Google is able to use that very same information for its own trade decisions. In

stark contrast to representations made to the Federal Trade Commission and Congress, Google
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trades on what was previously insider information. At a high level, the encryption of publishers’

user IDs forecloses competition for publishers’ inventory from non-Google exchanges and ad

buying tools.

   126.     Publishers, and the exchanges that sell inventory on their behalf, need to know the

identity of users associated with publishers’ impressions in order to sell those impressions for

competitive prices. User IDs permit publishers and their exchanges to understand the value of

inventory, cap the number of times that users see the same ad, and effectively target and track

online advertising campaigns. When exchanges cannot identify users in auctions (e.g., through

cookies), the prices of impressions on exchanges can fall by about 50 percent, according to one

Google study.

   127.     In 2009, Google’s ad server started restricting publishers’ ability to access and share

the user IDs that Google’s new ad server associated with publishers’ impressions. Google

accomplished this by hashing or encrypting the user IDs differently for each publisher using

Google’s ad server (e.g., John Connor = user QWERT12345) and each advertiser bidding through

Google’s ad buying tools (e.g., John Connor = user YUIOP67890). As a result, publishers and

advertisers could not easily know that two different user IDs actually belonged to the same user.

   128.     While Google blocked publishers from accessing and sharing the user IDs with

exchanges and networks, Google shared the same raw IDs with Google’s network and exchange,

as well as Google’s advertising middlemen, DV360 and Google Ads. Thus for Google’s network,

exchange, and ad buying tools, John Connor is always HJKLM54321. In other words, publishers

and advertisers could not easily know that two different user IDs actually belonged to the same

user, unless they used Google’s ad buying tools and exchange.




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   129.     To be clear, this meant that Google blocked consumers from obtaining any privacy

benefits associated with encrypted user IDs from Google’s network, Google’s exchange, or

advertisers using Google’s ad buying tools. At the same time, Google withholds from consumers

that consent to ID sharing the benefits they would gain if publishers were permitted to maximize

competition for their inventory. The higher advertising revenue that publishers make from

exchanges help publishers offer consumers better quality content and lower priced content access.

               i.      Information asymmetry causes advertisers to trade on non-Google
                       exchanges at their own risk.

   130.     By blocking publishers’ ability to access and share their ad server user IDs, Google’s

exchange always has better information about publishers’ heterogenous inventory. As a result,

advertisers that bid through an ad buying tool or exchange other than Google’s could not efficiently

know if they are bidding on valuable impressions, cap the frequency that consumers see the same

ads, target audiences, or avoid bidding against themselves in second-priced exchanges. Publishers

and advertisers could transact in Google’s exchange using Google’s ad buying tools and avoid all

the harms that Google artificially created. In essence, by scrambling the DoubleClick ad server

user IDs, Google created a “heads I win, tails you lose” scenario.

               ii.     Google forecloses competition by using inside information to win
                       auctions.

   131.     Google then started using its exclusive access to publishers’ raw ad server user IDs to

develop a number of internal non-transparent auction programs designed to exclude competition

in both the exchange and ad buying tool markets. The programs ensure that publishers’

impressions, especially the high value ones, transact through Google. At a high level, the programs

exclude competition by manipulating advertisers’ bids and auction price floors.




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   132.     Google’s                              , which was based in New York, designed

one such program to exclude competition called Reserve Price Optimization (RPO). The RPO

program uses




                                                                                        .

Competing exchanges cannot similarly



                                       .

   133.     Google’s       team launched another program called




                           . Google forecloses competition in the exchange market by




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   134.     Google’s            team designed an additional program to exclude competition.

Developed in 2013,



                                                                                            . The

           program helped advertisers bidding through Google’s ad buying tool win publishers’

valuable impressions in Google’s exchange. The               program is designed so that it is not

transparent to publishers.

   135.     To illustrate how          works, suppose an advertiser using the Google Ads bids a

$10 CPM for USA Today’s ad impression targeted to John Connor. Because the program has access

to the historical bid data belonging to Google Ads advertisers, the                 program can

determine that the advertiser would not bid high enough for its bid to clear in Google’s exchange.

In such a situation, the advertiser’s bid would have normally cleared in a non-Google exchange.

The             program uses that information—what that advertiser historically bid for John

Connor—to manipulate the advertiser’s bid without their knowledge prior to routing it to the

exchange. In doing so,               ensures that the advertiser bidding through Google Ads

nonetheless wins USA Today’s impression targeted to John Connor in Google’s exchange.

            excludes competition from advertisers using non-Google buyer tools to bid into

Google’s exchange.

   136.     According to internal Google documents, prior to the          program’s introduction,

advertisers bidding through competitors’ ad buying tools were actually beating the advertisers

bidding through Google’s ad buying tool. Google’s idea with the             program was to trade

on inside information to help Google to reverse this trend. The program permitted Google to

radically influence the amount of trading that executes through Google Ads and in Google’s



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exchange. Google looked back at the                program’s success as follows:




In just the first year of launch, the            program alone swelled trading in Google’s exchange

enough to increase annual revenue by $          million.

    Screenshot of                                               , the namesake of Project

                                        on Google’s exchange.




    137.     Google’s          team developed other programs, such as                 that use inside

information on quality or price to privilege Google’s exchange over rival exchanges. All of these

complex programs are designed by Google’s quantitative analysts to serve a simple purpose: use

Google’s information and access advantage in ways that no other exchange can replicate. The

programs create inefficiencies in the allocation of impressions and reduce competitors’ ability to

compete on price. In competitive markets of publisher ad servers and exchanges, Google would

not be able to maintain these advantages. Competitors would offer similar features and Google’s

benefit would erode over time.

    138.     he preceding           programs represent an illustrative but incomplete sample of the

sophisticated auction programs that Google uses to exclude competition in the exchange and ad

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buying tool markets. These programs account for substantial additional Google revenue obtained

at the direct expense of harm to competition.




            In short, Google quants use Google’s monopoly power to manipulate the auctions

through algorithms that modify the exchange architecture in order to extract hundreds of millions

of dollars in additional revenue and harm consumers by foreclosing competition.

   139.     By interfering with publishers’ user IDs, Google acted inconsistent with the

representations it made at the time of the DoubleClick acquisition to both the U.S. Federal Trade

Commission (“FTC”) and to the U.S. Congress. To Congress, Google stated that DoubleClick

“data is owned by the customers, publishers and advertisers, and DoubleClick or Google cannot

do anything with it.” To the FTC, Google represented that “customer and competitor information

that DoubleClick collects currently belongs to publishers, not DoubleClick” and that “[r]estrictions

in DoubleClick’s contracts with its customers, which those customers insisted on, protect that

information from disclosure.” Google then “committed to the sanctity of those contracts.” In

essence, DoubleClick contracts rendered publishers’ data confidential and non-public, which

prohibited Google from using such data to act against publishers’ interests.

               iii.    Google uses privacy concerns to advantage itself.

   140.     Google’s entire business model is to collect comprehensive data about every user in

the service of brokering targeted ad sales. It then uses privacy concerns as an excuse to advantage

itself over its competitors. For example, Google’s stated reason for cutting off publishers’ user IDs

is protecting users’ privacy, but Google does not protect users’ privacy when doing so harms

Google. Google encrypts publisher ad server user IDs but uses the same user ID information for

Google’s benefit, thus preventing consumers from obtaining the privacy benefits associated with
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encrypted from Google itself. The planned elimination of third-party cookies from Google’s

dominant browser, Chrome, is also justified on privacy grounds, but the effect is to increase

information asymmetries between Google and its competitors.

   141.     Google also has violated users’ privacy in other egregious ways when doing so is

convenient for Google. For instance, shortly after Facebook acquired WhatsApp, in 2015,

Facebook signed an exclusive agreement with Google, granting Google access to millions of

Americans’ end-to-end encrypted WhatsApp messages, photos, videos, and audio files. As Google

discussed internally, WhatsApp



                                     They did not know that Google

                                                                      As internal documents

reveal, upon signing the agreement, Facebook and Google started

                                                    , without letting users know. Rather than

being concerned about this fundamental breach of privacy, Google internally was




                   . In an internal document discussing the deal, Google discussed




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                                     In other words, Google is more concerned about bad publicity

than about users’ privacy.

   142.     Google has also actively worked with Big Tech competitors to undermine government

efforts to enhance users’ privacy. For example, in preparation for a closed-door meeting on August

6, 2019 between the five Big Tech companies—Google, Facebook, Apple, Amazon, and

Microsoft—Google



                                                            Google was particularly interested in

coordinating with other Big Tech companies to delay privacy regulation because of its impact to

Google’s advertising business. Google presents a public image of caring about privacy, but behind

the scenes Google coordinates closely with the Big Tech companies to lobby the government to

delay or destroy measures that would actually protect users’ privacy.

   143.     Google actively coordinates with its competitors when it comes to privacy. In the same

meeting memo, Google wrote that meeting objectives included discussing

                                Google then expressed




                                                                         said Google, referring to

Facebook. Google also sought to

                                            —against Google and other Big Tech companies. Of

course, effective competition is concerned about both price and quality, and the fact that Google

coordinates with its competitors on the quality metric of privacy—one might call it privacy




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fixing—underscores Google’s selective promotion of privacy concerns only when doing so

facilitates its efforts to exclude competition.

        4.      Google prevents competing exchanges from accessing publishers’ high value
                inventory and reaps the benefits for itself.

    144.     Google foreclosed exchange competition for publishers’ valuable impressions through

a program called Enhanced Dynamic Allocation (“EDA”). Historically, publishers sold their best

impressions to advertisers directly for premium prices. With EDA, Google’s ad server let Google’s

exchange compete for and purchase valuable impressions that the ad server previously allocated

to publishers’ premium direct deals. At the same time, the ad server did not allow other exchanges

to compete for the same inventory.

    145.     Before EDA, when a publisher sold their inventory through direct deals for premium

prices, Google’s ad server sold an advertiser a tranche of impressions which met the advertiser’s

specifications. Following EDA, Google determined whether an impression should be sold at

auction or be used toward meeting the reservation goal of a direct campaign based on the value of

the impression.

    146.     With EDA, Google’s publisher ad server let only Google’s exchange compete for and

purchase the valuable impressions the ad server previously allocated to direct deals. Using its

control over publishers’ inventory through publishers’ ad servers, Google did not allow other

exchanges compete for the same inventory.

    147.     In a review of revenue and impressions on AdX in the United States, Google found that

the vast majority—      percent—of web publishers’ ad revenue is generated from a much smaller

percent—just         percent—of impressions. Google refers to this internally as

                  Competition in the exchange market depends on being able to trade volume and




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valuable impressions. EDA made it so only Google’s exchange could trade publishers’ valuable

goods.

   148.      At the same time, EDA permitted Google’s exchange to purchase publishers’

impressions while shielding itself from price competition. Specifically, Google’s ad server

permitted Google’s exchange to purchase these impressions for one penny more than the price

floor instituted by Google, known as the reserve price. Google’s exchange paid a hypothetical

price calculated by Google, instead of the market price.

   149.      EDA also excluded competition from publisher direct sales. Google’s ad server let its

own exchange cherry pick the valuable impressions, and then funnel lower value impressions to

publishers’ direct deals. Advertisers who paid high prices for premium inventory through direct

deals unknowingly received publishers’ lower quality inventory in return. Over time, as a

consequence of this behavior, the value of direct sold inventory declined and advertisers re-

allocated spending towards Google’s exchanges where they must pay Google exchange fees.

   150.      Similar to Google’s strategy with dynamic allocation, Google invited publishers to

enable EDA under a false pretense. Wearing the publisher ad server hat, Google falsely told

publishers that EDA “maximizes yield.” Internally, however, Google understood that the program

was a scheme to let Google’s exchange simply

                In fact, cherry-picking the best impressions under EDA helped Google make an

additional               per year.

   151.      To make matters worse, publishers could not easily know that Google was cherry-

picking impressions because Google hashed user IDs. By scrambling the IDs differently for

publishers and advertisers, publishers could not easily work with advertisers to confirm that




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the code enabled publishers to direct a user’s browser to solicit real-time bids from multiple

exchanges, before Google’s ad server could prevent them from doing so. Instead of being subject

to the whims of Google’s ad server, header bidding shifted routing from the ad server to the

browser. Publishers then sent the highest exchange bid in header bidding into their Google ad

server. In short, header bidding created a technical workaround for publishers to circumvent

Google’s efforts to foreclose competition in the exchange market.

   155.     Some of the biggest Tech companies, like Amazon, participated in header bidding, and,

by 2015, publishers and advertisers were rapidly adopting the innovation. By 2016, approximately

70 percent of major publishers in the United States were routing their inventory to multiple,

sometimes as many as twenty exchanges, using header bidding.

   156.     Publishers and advertisers adopted the protocol because they came to realize what

Google already knew. Waterfalling, dynamic allocation, and enhanced dynamic allocation did not

actually maximize publishers’ yield. Instead, as Google discussed behind closed doors,



                         In fact, it was incredibly good for publishers. With header bidding,

publishers saw their ad revenue jump overnight simply because exchanges could compete. One

Google employee noted how



   157.     Header bidding was also a positive development for advertisers and consumers. For

advertisers, header bidding allowed them to transact through an exchange of their choosing,

including those that charged less than Google’s very high        percent fees. Internally, Google

conceded its fees were supra-competitive and not




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   158.     The fees that advertisers saved, as well as the increased revenue that publishers made,

also benefitted consumers. With more ad revenue, publishers produce more content and better

subsidized content access. Lower take rates also reduced deadweight costs that advertisers

ultimately pass on to consumers. Consumers benefit through better quality or lower priced goods

and services.

   159.     Based on a review of Google’s internal documents, Google wanted to quash the

innovation of header bidding for three reasons: to avoid price competition, to permit Google to

continue to trade on inside information, and to foreclose competition against its publisher ad server

monopoly.

   160.     First, Google wanted to eliminate header bidding because Google wanted to protect its

exchange margins from competition. As Google discussed internally,




                   Such a dramatic reduction to Google’s exchange margins toward competitive

rates was an obvious threat posed by header bidding competition.

   161.     Second, Google wanted to destroy header bidding because the innovation threatened

Google’s practice of trading on inside information. Secretly, Google’s ad server shared competing

bids on publishers’ inventory with DV360 and Google Ads. This allowed Google’s ad buying

middlemen to use that information to optimize their own bidding strategy. This is similar to a form

of insider trading where Google is the only bidder that returns a bid knowing what others were

simultaneously bidding. As Google discussed the predicament internally, header bidding caused



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Google to                    into the                                  which are



   162.      Finally, Google wanted to eliminate header bidding to foreclose any competition with

its publisher ad server monopoly. The companies involved with header bidding would have a

foothold on a key function of Google’s ad server: routing a publishers’ inventory to exchanges.

With that, a major header bidding player like Amazon or Facebook was well-positioned to

eventually compete directly with Google’s monopoly ad server. Without control over publishers’

inventory, Google would lose the ability to block exchange competition and tilt trading to Google.

   163.      Google discussed how competition was a problem and deliberated over what to do

about it. Rather than compete with other exchanges on price or quality, Google did everything in

its power to

       2.       Google creates an alternative to header bidding that secretly stacks the deck
                in Google’s favor.

   164.      Google tried to eliminate competition from exchanges in header bidding by creating a

header bidding alternative that secretly stacked the deck in Google’s favor. Eventually Google’s

ad server let publishers route their inventory to more than one exchange at a time with a new

program that Google externally called Exchange Bidding, later renamed Open Bidding. However,

Google secretly devised the program in a way to foreclose exchange competition, and codenamed

the program           Google measured the program’s success, not by financial targets or output

increases,                                                                     .

   165.      Google devised exchange bidding to exclude competition from exchanges in four ways.

First, Google diminished the ability of non-Google exchanges to return competitive bids by further

lowering their ability to identify users associated with publishers’ ad space in auctions. Header

bidding let each exchange access a cookie on the user’s page, which permitted each exchange to

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recapture some information about the user’s identity. Google’s new program prohibited exchanges

from directly accessing the user’s page. As a result, they identified users in auctions even less

often, causing them to bid and win less often.

   166.        Second, Google foreclosed exchange competition by charging publishers an additional

5 to 10 percent penalty fee for selling inventory in a non-Google exchange. The fee made

advertisers’ bids through rival exchanges less competitive than advertisers’ bids through Google’s

exchange because Google’s exchange did not pay the additional fee. As Google understood it, this

gave Google’s exchange a                                     when competing against competing

exchanges.

   167.        Third, when publishers chose to route their ad space from their Google ad server

directly to multiple exchanges at the same time, Google’s new program required them to route

their space through Google’s exchange, even if publishers did not want to do so.

   168.        Fourth, Google designed open bidding to provide Google’s exchange a special

                    which Google kept secret. Google made it so Google’s AdX exchange won

publishers’ inventory even over another exchange’s much higher bid.



                               :

           ,                              .




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   172.     In March of 2017, Facebook publicly announced it would support header bidding. By

doing so, Facebook would enable web and mobile app publishers and advertisers to bypass the

fees associated with transacting through Google’s ad server. When bidding into Google’s ad

server, networks, such as Facebook’s network (FAN), had to bid into exchanges and pay exchange

fees. Google’s exchange fee was about         percent of the value of the transaction. Because

header bidding cost nothing, Facebook would let web publishers, mobile app publishers, and

advertisers save on these fees altogether.

   173.     Google feared that Facebook’s support of header bidding would crack Google’s

publisher ad server monopoly and unlock exchange competition.



                                                           . In a company deck, he outlined the

                for 2017, writing,




   174.     The wider industry also thought that Facebook was prepared to challenge Google’s

monopoly. The same day as Facebook’s March 2017 header bidding announcement, industry

publication AdAge wrote that Facebook was poised to execute a “digital advertising coup against

rival Google and its DoubleClick empire.” A Business Insider headline the same day read,

“Facebook Made an Unprecedented move to Partner With Ad Tech Companies – Including

Amazon – to Take on Google.”




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   175.                                                                            . Facebook was

helping publishers and advertisers match two to three times more users in auctions and increase

third-party publishers’ revenue by 10-30 percent, according to Facebook metrics posted in

Facebook's public blog.

                                                       .

   176.       Such cost efficiencies for publishers and advertisers were not welcome news to Google.

Even before Facebook’s March 2017 announcement, Google was concerned about large entrants

supporting header bidding. Internal Google documents show that Google’s mandate at this time

was to stop its competitors

                                              . In an October 5, 2016 presentation to senior Google

executives,



                                            One slide in this presentation asserted that Google's

                  was to

   177.       Conversely, internal Facebook communications indicate that Facebook’s March 2017

announcement was mainly intended

                                                               .

                                                        . Evidently, Facebook was merely executing

a planned long-term strategy—“

                                                                                         . Facebook

wanted to draw Google in.

   178.       Facebook’s maneuvers were successful. Google made the first move. According to

internal Facebook communications, Google tried to bring Facebook to the negotiating table as



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early as              . In one email, a Facebook employee noted that




   179.      Within months of Facebook’s official header bidding announcement, Google and

Facebook began formal negotiations. According to an internal Google November 2017

presentation discussing a

Google stated their endgame was to



   180.      Facebook clearly understood Google’s motivations. In an email dated



                                                                    ,

                   Facebook knew that Google’s intent was to cut a deal with Facebook to get

Facebook to                                      .

   181.      At this time, and extending into 2018, Google and Facebook were engaged in high

stakes brinksmanship. A truce between the two advertising giants was by no means guaranteed. In

an August 9, 2018 internal Google presentation, one slide laid out that if Google could not

                                                                                          Google

was interested in using Facebook to              .

   182.      Facebook was highly interested in a successful outcome to these negotiations between

horizontal competitors. As internal Facebook documents reveal, Facebook



              Facebook did not want to play                 .




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advertisers measure the efficiency of trading through buy-sell spreads.                that Google

imposes on some marketplaces like FAN puts those marketplaces at an advantage when competing

against the marketplaces with higher fees.

   186.     Google also provided Facebook with a                                  . Google subjects

other marketplaces competing for publishers’ inventory in Open Bidding to 160 millisecond

timeouts. Competitors have actively complained that          is not enough time to recognize users

in auctions and return bids before they are excluded. By comparison, Google

                               . The longer timeouts granted by Google were presumably designed

to aid FAN win more auctions to abide by the spirit of the           agreement.

   187.     Google further induced Facebook to help Google foreclose competition from header

bidding—“                               —by letting Facebook have

                             , though Google prohibits other exchanges and networks in Open

Bidding from having the same                         . In fact, Google’s policies with competing

marketplaces in this regard are so strict that Google has prohibited marketplaces from

                                     . The inability to                                  constrains

marketplaces’ ability to operate and compete, explained rivals. One advertising competitor

compared Google’s business term to a

   188.     On top of

Google further induced Facebook to help it shut down competition from header bidding by



                                                                                  s. Other networks

have asked Google for the same information, but Google has withheld the same information.




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     189.      In the            agreement, Google also promised to use

            to help Facebook recognize the identity of users in publishers’ auctions. The parties agreed

to                              commitments, meaning the percent of users Facebook could identify

in auctions over the percent of bid requests received. Google promised Facebook an

               in auctions for mobile inventory and a                             in auctions for web

inventory (excluding Safari). Bidders in advertising auctions generally only bid when they

recognize the identity of the user. As a result, the                                               allow

Facebook to bid and win more often in auctions.

     190.      Indeed, since signing the agreement, Google and Facebook have been working closely

in an ongoing manner to help Facebook                                                                  .

For example, Google and Facebook have

                                                                     . They also coordinated with each

other to harm publishers through the adoption of Unified Pricing rules, discussed in paragraphs

231-235 below. The companies also have been working together to




                        . For instance, according to an April 2, 2019 discussion between Facebook

employees,



                 Facebook employees noted, however, that




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                                          . By helping Facebook to

          , Google helps Facebook’s network FAN to bid and win more often.

   191.     In entering the agreement, Facebook was wary that Google would use information

about Facebook’s bids to manipulate the auction. As a result, Facebook was explicit in

                                                                                             .

Dan Rose, Facebook Vice President of Partnerships, explained in an email to Mark Zuckerberg,

that Facebook had



                                                         Facebook was big enough to extract a

concession from Google, whereas no other auction participant has the scale to demand the same.




             .

                                 .

   Screenshot of contractual terms that

                                                         :




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   192.     Google and Facebook also agreed to manipulate publisher auctions in Facebook’s favor

through                                      . The agreement outlines that Facebook will use



                         . The parties also agreed that Facebook is to

          . Unbeknownst to other market participants, no matter how high others might bid in those

auctions, Facebook is to                                        . Starting in the fourth year of the

agreement, Google also

                   .

   193.     In addition to sufficiently incentivizing Facebook to

       , and cede the market for publisher ad servers to Google, the               agreement fixes

prices and allocates markets between Google and Facebook as competing bidders in the auctions

for publishers’ web display and in-app advertising inventory. Google and Facebook operate the

largest ad networks for display and in-app mobile inventory in the United States (i.e. GDN,

AdMob, and FAN). In this regard, the companies compete head-to-head in publishers’ ad auctions

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to purchase inventory for, ultimately, their small advertisers. Google internally discussed this



    194.     By providing Facebook with what Google called                          Google further

manipulated auctions. Google already manipulates publishers’ ad auctions by giving Google

bidders information and speed advantages. In 2019, these advantages helped them to win the

overwhelming majority of publishers’ ad auctions, hosted by Google: about        percent of Google

AdMob auctions for U.S. mobile app inventory, and about       percent of Google ad server auctions

for mobile inventory. Now Google offered Facebook information advantages, speed advantages,

and other prioritizations, to the detriment of other auction participants. The agreement allocated a

portion of publishers’ auction wins to Facebook, subverting the free operation of supply and

demand. Furthermore,                                                      were designed to meet a

                                              that spans several years. Facebook is locked in and

cannot change its mind and switch back to header bidding to compete against Google.

    195.     As one would expect with a market allocation agreement, Google and Facebook do not

disclose                                                              to other bidders in the same

publisher auctions. In fact, Google publicly misrepresents that all bidders in publishers’ auctions

compete on an equal footing. “All participants in the unified auction, including Authorized Buyers

and third-party yield partners, compete equally for each impression on a net basis,” Google says.

This, of course, is false.

    196.     Given the scope and extensive nature of cooperation between the two companies,

Google and Facebook were highly aware that their agreement could trigger antitrust violations.

The two companies discussed, negotiated, and memorialized how they would cooperate with one

another



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                                                  agreement permits the parties to terminate the

agreement for

                               . If neither party executed those termination options, the agreement

permits termination                                                               . The agreement

also requires the parties to

                                          relating to their illegal agreement in its answer to this

Complaint. The word               is mentioned no fewer than twenty times throughout the

agreement.

    Screenshot of the            agreement specifying                                      :




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                                                          Google also crippled publishers’ ability

to measure the efficiency of exchanges in header bidding, limited publishers’ use of exchanges in

header bidding, and punished publishers and advertisers that used header bidding in Google search

rankings—a market where Google controls 88 percent of the market.

       1.      Google trades ahead of bid orders to foreclose exchange competition.

   198.     Google first excluded competition from header bidding by trading ahead of the bid

orders submitted by header bidding exchanges. A publisher like USA Today would route their

inventory to multiple exchanges through header bidding, then route the winning exchange bid into

their Google ad server. Google, however, refused to compete with other exchanges in header

bidding, then used its ad server to let Google’s exchange displace the winning header bidding

exchange bid by paying one penny more. Industry participants called this Google’s “Last Look.”

Other industries call similar conduct by intermediaries “insider trading” and “front running.”

   199.     With Last Look, and Google’s absolute monopoly in the ad server market, Google

successfully foreclosed competition. Google’s exchange cherry picked the best impressions,

leaving rival exchanges the low value impressions it picked over. According to a confidential

Google study, Last Look also

                 , protecting Google’s market power in both. According to Google’s internal

documents, Last Look ensured that header bidding exchanges always lose to Google’s exchange.

The main exception was when a publisher set a higher floor for Google’s exchange, a feature that

Google later removed from publishers’ control.

       2.      Google deceives exchanges to forgo header bidding.

   200.     Google unlawfully excluded competition in the exchange market by tricking exchanges

to migrate from header bidding to exchange bidding. In March 2017, Google stated that its

exchange would no longer trade ahead of other exchanges that bid through Google’s exchange
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bidding program. Some market participants cheered Google for giving up its “Last Look auction

advantage.” However, internal documents reveal that Google simply traded one version of Last

Look for another version of the same conduct by using a new technique that allowed Google to

continue to jump ahead of rival exchange bids.

       201.     Specifically, Google deploys a bid optimization scheme based on predictive modeling

that

                                             With this new bid optimization, Google abandoned Last

Look as that term was understood. However, Google re-engineered the ability to trade ahead of

rivals to ensure that

                    . Truly giving up Last Look would have cost Google too much: DV360’s revenue

would have dropped by          percent, and Google Ads’ revenue would fall by over    percent.

       202.     Google deceived exchanges to switch from header bidding to exchange bidding on the

false hope that Google’s exchange would give up trading ahead of their orders. Google also

forecloses others in the market from competing against Google’s exchange with similar bid

optimization schemes because Google’s ad server prohibits publishers from sharing identical user

IDs with competing exchanges and ad buying intermediaries.

          3.       Google deceives publishers to disable exchanges in header bidding.

       203.     Internal communications between Google employees reveal how Google engaged in

deception to undermine header bidding. For example,




                     . However, a senior Google employee worried its misrepresentations would make

it difficult                                           Another employee conceded it gave Google a
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            Google employees agreed that, in the future, they should not directly lie to publishers,

but instead find ways to convince publishers to act against their interest and remove header bidding

on their own.




       4.       Google cripples publishers’ ability to measure the success of exchanges in
                header bidding.

   204.     Beginning in 2018, Google’s ad server started redacting various data fields from the

consolidated auction records that it shares with publishers. The redactions make it nearly

impossible for publishers to compare the performance of exchanges in header bidding with the

performance of exchanges going through Google’s ad server. Consequently, Google renders the

entire reason publishers use header bidding unobservable and unmeasurable: to increase yield

through head-to-head exchange competition.



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       5.      Google obstructs publishes’ use of header bidding through caps.

   205.     Google also throttles publishers’ use of header bidding by capping the number of

permissible “line items”—a technical ad server line of code that publishers need to use in order to

run header bidding auctions. Many publishers requested that Google increase the number of

permissible line items so that they could properly use header bidding. Internally, Google discussed



                                    Google consistently rejected the publishers’ request for more

line items or only provided the publisher with temporary limited increases. As one employee

explained to others,

                                                                  OpenX, a competing ad server,

permitted publishers to manage header bidding via a single line item, rather than multiple. Instead

of increasing line items to enhance publishers’ yield, or innovating to provide a single line item

solution like OpenX, Google used its veto power to undermine its own clients.

       6.      Google uses its search monopoly to punish publishers that use header bidding.

   206.     Google eventually started using its monopoly power in the search market to strongarm

publishers and advertisers to stop using header bidding and re-route trading through Google’s ad

server. Header bidding is only possible if publishers can insert JavaScript code into the header

section of their webpages. To respond to the threat of header bidding, Google created Accelerated

Mobile Pages (“AMP”), a framework for developing mobile web pages, and made AMP

essentially incompatible with JavaScript and header bidding.

   207.     Although Google claims that AMP was developed as an open-source collaboration,

AMP is actually a Google-controlled initiative. Google originally registered and still owns AMP’s

domain, ampproject.org. In addition, until the end of 2018, Google controlled all AMP decision-

making. AMP relied on a governance model called “Benevolent Dictator For Life” that vested
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ultimate decision-making authority in a single Google engineer. Since then, Google has transferred

control of AMP to a foundation, but the transfer was superficial. Google controls the foundation’s

board and debates internally

                                .

   208.     Google ad server employees met with AMP employees to strategize about using AMP

to impede header bidding, and how much pressure publishers and advertisers would tolerate. First,

Google restricted the code to prohibit publishers from routing their bids to or sharing their user

data with more than a few exchanges a time, which limited AMP compatibility with header

bidding. At the same time, Google made AMP fully compatible with routing to exchanges through

Google. Google also designed AMP to force publishers to route rival exchange bids through

Google’s ad server so that Google could continue to peek at rivals’ bids and trade on inside

information. Third, Google designed AMP so that users loading AMP pages would make direct

communication with Google servers, rather than publishers’ servers. This enabled Google’s access

to publishers’ inside and non-public user data. AMP pages also limit the number of ads on a page,

the types of ads publishers can sell, as well as enriched content that publishers can have on their

pages.

   209.     AMP is a low-quality product for publishers in two ways. Publishers

                                                                . AMP also degraded quality by

restricting content and ad types.

   210.     Just as publishers have the freedom to make their webpages mobile or desktop

compatible, publishers still have the freedom to decide whether to build their pages using the AMP

framework. However,

                            .



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                                                                   .

Google search results for “Dallas cowboys news”; AMP results are displayed in the carousel along the top




    211.      Google falsely told publishers that adopting AMP would enhance load times, but

Google employees knew that AMP only improves the                                                           and AMP pages

can actually                                                                                      . In other words, the

ostensible benefits of faster load times for cached AMP version of webpages were not true for

publishers that designed their web pages for speed. Some publishers did not adopt AMP because

they knew their pages actually loaded faster than AMP pages.

    212.      Google also                                     of non-AMP ads by giving them artificial one-

second delays in order to give Google AMP a

slows down header bidding, which Google uses to turn around and denigrate header bidding for


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being too slow.

                             Google falsely claimed. Internally, Google employees grappled with



   213.     Google gave publishers a Faustian bargain: (1) publishers could lose more money by

using header bidding because Google Search would suppress their search rankings and send traffic

to competing AMP-compatible publishers; or (2) publishers could lose less money by using AMP

pages and forgoing exchange competition in header bidding. Either option was far inferior to the

options available to publishers before AMP was introduced. Just how inferior?

                         according to internal Google documents.

       7.      Google cuts off data to publishers that do not stop using header bidding.

   214.     Google further excludes competition from header bidding by conditioning publishers’

access to key ad server user data on the basis publishers completely forego header bidding. Access

to such data is a critical input for successful online advertising campaigns, and Google recognized

that a walled garden approach would exclude competition and protect its monopoly.

   215.     Google does not let publishers access their ad server user IDs, then co-mingles the same

data with Google data, and shares back the co-mingled data set only with publishers who route

trading through Google’s open bidding program. Specifically, Google combines data it obtains by

running publishers’ inventory management software with data Google obtains by operating its own

properties Search and YouTube, naming the combined data set                     Google makes the

combined          data set available to Google’s exchange and buying tools through a special project

codenamed Project           Publishers that use header bidding are denied a critical data input.

   216.     When Google acquired DoubleClick, it made representations to both Congress and the

FTC that publishers and advertisers owned ad server data, which would have prohibited Google’s

exchange and advertising middlemen from trading on such inside information. Reneging on these
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promises allows Google to act as a seller’s broker, but actually not act in a seller’s interest. Google

accesses a seller’s non-public data in its capacity as a seller’s broker, but then converts such data

for Google’s own use. In turn, Google lets publishers that promise to forgo header bidding to regain

access to some of that data to sell ads.

   217.     In a similar fashion, Google’s ad server started to share “minimum bid to win” data

after auctions conclude with exchanges in Open Bidding,

                                                 . The “minimum bid to win” data is the price an

auction participant would have had to bid to win a particular publisher auction. Those bidding in

Open Bidding use this information to adjust their future bidding strategy in order to beat those

bidding through header bidding. In other words, Google withholds critical information selectively

so that exchanges in header bidding lose and those bidding in Open Bidding win. Google could

implement less restrictive alternatives of these features.

       8.      Google excludes competition through “nontransparent pricing.”

   218.     When marketing its exchange to publishers and advertisers, Google has explained an

ad exchange is “just like a stock exchange, which enables stocks to be traded in an open way.”

However, Google’s exchange is not open at all. Google purposefully keeps auction mechanics,

terms, and pricing, opaque and “nontransparent” to impede exchange competition.

   219.     Google’s non-transparent pricing strategy includes obfuscating the take rate that

publishers and advertisers pay Google. Google tells small advertisers using Google Ads the price

they pay Google for ad space, but not the price the inventory actually cleared for in Google’s

exchange, the revenue the publisher receives, or the markup Google keeps. In a discussion between

Google employees about the fees that Google Ads charges, one employee asked,

                                                                Another clarified that the fee

              Even Google employees don’t understand Google’s fees for small advertisers.
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     220.     Overall, evidence suggest that publishers selling inventory through Google receive

approximately 70 percent of advertising revenue paid by advertisers, and in some cases that

amount is as low as 58 percent. In other words, the buy-sell spread is approximately 30 percent

and in some cases is as high as 42 percent.

     221.     The lack of transparency decreases competitive pressure at different points in the

supply chain and increases opportunities for rent-seeking and arbitrage. As one senior Google

employee put it,



                                             In other words, Google can charge higher fees at points

in the supply chain where there is little competition and the lack of transparency around fees

impedes other firms from coming in and competing with Google by offering the same services at

lower prices.

     222.     The lack of transparency also prevents Google’s potential and actual competitors from

assessing a possible return on investment if they enter or as they compete in the market. Lack of

transparency prevents more efficient competition that would drive greater innovation, increase the

quality of intermediary services, increase output and create downward pricing pressure on

intermediary fees.

     223.     Non-transparent pricing also lets Google engage in abusive trading behavior in secret,

without competition entering to challenge its conduct. Internal Google documents make clear that

non-transparent pricing is a deliberate strategy to impede competition and give Google the leeway

of                                    to do things like arbitrage.




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advertising revenues as the sole ad tech services provider. The following internal Google document

summarizes Google’s future plans for the internet:




   225.     The goal of the                 is to                                       by enabling

third-party inventory to behave as if it                                 . The                 will

                                                                                               The

new requirements would be                  —a new superset of distinct       requirements “

                                              with Google as the sole indirect ad supplier in an

environment in which Google was                            In other words, the publishers own the

content, but Google controls it. In addition to ceding all control, Google would demand that

publishers accept exponentially higher fees—                   Google’s standard revenue share.

   226.     In order to convince publishers to accept this bargain, Google intends to




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                                       or, under the               , to give up all control and pay

Google exponentially higher revenue shares.

   227.      Given the extraordinary information Google has on every consumer, the threat of

withholding that information from publishers forecloses competition. Based on Google’s default

settings of Google products alone, it includes everything you have ever searched on Google or on

Chrome, every email you have sent or read on Gmail, everywhere and every time you have ever

travelled on Google Maps, everything you have ever done on every Android app, every video you

have ever watched on YouTube, every meeting you have ever attended on Google Calendar, and

everyone you know in your Google Contacts. It also includes a massive amount of third-party data,

including information from sites and apps that use Google services, and every online publisher and

advertiser using Google ad products has about the user. Google is able to use this massive

information advantage strategically to harm any publisher who refuses to use its intermediaries or,

under the emerging                , every publisher who refuses to allow Google to operate what

it owns.

   228.      Google’s decision to phase out third-party cookies on Chrome only increases the

information asymmetries, leaving publishers with fewer alternatives other than Google’s user data.

Because access to user data is only available on the                          or through Google

intermediaries, Google’s decision to shut down third-party cookies on Chrome increases the

information asymmetries between its exchange and other exchanges such as those in header

bidding.

   229.      The               approach is not without risks. Google knew that such a change

would be deeply unpopular with publishers, but concluded that the

                      because Google’s clients are                             Given the nature of



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targeted ads, Google has consistently misrepresented that “we’ll never sell your personal

information to anyone.” But the                       takes this misrepresentation to another level.

Google recognized that a fundamental                    of the



             As one Google executive put it,

                                                        Of course, the public relations risks are real

because that is precisely what Google is doing: using its massive trove of user data to generate

targeted ad revenue. The                 will go further and charge even higher prices for the sale

of personal user information in order to create a giant walled garden and increase its profit margins

and eliminate competition.

       10.      Google excludes competition though unified pricing rules.

   230.      Google also uses its ad server monopoly power to exclude competition from exchanges

in header bidding through new unified pricing rules. In 2019, Google’s ad server started

prohibiting publishers from setting different price floors for different sources of indirect demand.

As a result, publishers can no longer route their ad space to an exchange like AppNexus at a price

floor lower than what the publisher routes the same impression to Google’s exchange. Neither can

a publisher give one bidder like Google Ads a price floor of a $10 CPM, while giving another buy-

side DSP, such as The Trade Desk, a price floor of an $8 CPM. Google calls these new restriction

Unified Pricing.

   231.      Unified Pricing prohibits publishers from using price floors to generate competition

between Google and non-Google exchanges and buy-side intermediaries. Historically, publishers

set higher price floors for Google to price discriminate between buyers. Setting a higher floor for

Google’s demand allowed publishers to extract a greater share of value from the informational

advantage that Google created for itself. This is a consequence of Google’s ad server sharing better
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user IDs with Google than with non-Google intermediaries. Unified Pricing rules prohibit

publishers from charging Google an information risk premium, and generating competition from

bidders that cannot compete against Google’s information advantages.

   232.     Unified Price rules result in Google’s exchange and buy-side winning an increasing

portion of publishers’ impressions.




                                                                                                .

Records also show that

                             .

   233.     Unified Pricing rules not only prohibit publishers from discriminating between

exchanges and bidders based on price and yield, but also on non-price criteria like ad quality.

Publishers cannot favor exchanges and ad buying tools that return higher quality ads. Unified

Pricing rules also eliminate the incentive for publishers to multi-home across exchanges. In

adopting Unified Pricing, Google forced publishers to work with Google’s buy-side and through

Google’s exchange. Previously, Google Ads and DV360 bid on inventory in non-Google

exchanges and publishers could choose to only work with Google’s buy-side in non-Google

exchanges by setting their floors too high in Google’s exchange. Unified Pricing rules ended this

practice, which results in Google re-routing DV360 and Google Ads buying through Google’s

exchange, leading to a higher take rate for Google. This was one of Google’s main aims with

Unified Pricing.

   234.     Google misrepresented to publishers the reason it was adopting Unified Pricing.

According to an internal Google memorandum summarizing a May 2, 2019 meeting between



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Google and Facebook, the parties discussed

                                                                         . These discussions helped

Google to later decide to prohibit publishers from setting different price floors for different

exchanges. Externally, Google publicly and falsely declared that abolishing price floors benefited

publishers. Privately, however, Google revealed that the true objective was to




F.       Google forces advertisers to use Google’s ad buying tools for large advertisers.

         1.       Conduct that excludes competition in the exchange market also excludes
                  competition in the ad buying tools market.

      235.     As discussed in paragraphs 132-138, Google has deployed various programs, including

the               program, that foreclosed competition in the ad buying tool market for large

advertisers.

      236.     Likewise, as discussed in paragraphs 231-235, in adopting Unified Pricing, Google

forced publishers to work with Google’s ad buying tools through Google’s exchange. Before

Unified Pricing, publishers could set different price floors to facilitate competition between Google

and non-Google buyers.

      237.     As discussed in paragraphs 200-202, when Google replaced Last Look, it deployed a

bid optimization scheme based on predictive modeling that uses user ID information from

publishers’ ad servers to enable its ad buying tools to unfairly predict the optimal bid for an

impression. Consequently, Google foreclosed competition between ad buying tools in the market

competing to trade on Google’s exchange.




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       2.      Google excludes competition in the market for large advertiser buying tools.

   238.     Google unlawfully maintains its monopoly power on the buy-side by withholding

YouTube inventory from competing ad buying tools, and, by ensuring its exchange and ad server

provide Google’s buy-side with information advantages and better opportunities to execute orders

in Google’s exchange.

   239.     The market for instream online video advertising in the United States is a relevant

antitrust market. Online instream ads occur within the video stream of a video that the user is

already watching (e.g., a video ad before, during, or after a YouTube video) while outstream ads

are ads that occur when the end-user is scrolling through other content (e.g., a video ad that

automatically plays when scrolling through an article). Instream online video advertising is not

interchangeable with other types of online advertising, like search or display advertising. Instream

online video advertising typically serves distinct campaign goals for advertisers and usually

command significantly higher prices than online display ads, suggesting that online display ads do

not constrain the prices of instream online video ads. Instream online video advertising is also not

interchangeable with outstream video advertising since the end-user behavior differs

significantly—the end-user passively watches instream video as opposed to scrolling through

outstream video—leading advertisers to view the ad spaces differently.

   240.     YouTube has market power in the instream online video advertising market.

YouTube’s share of the overall online video advertising market is at least 43 percent in the United

States, and potentially much higher for instream online video advertising. Second, YouTube has

immense reach amongst U.S. consumers, reaching approximately 190 million U.S. consumers.

Among younger U.S. consumers, 77 percent of U.S. internet users aged 15-25 used YouTube, as

measured in Q3 2020. Even amongst older age-groups, YouTube’s reach was 67 percent or higher.

YouTube’s reach among U.S. consumers makes it a “must-have” source of online instream video
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inventory for advertisers and is considered a                        by Google for its buying tool

DV360. Accordingly, Google wields significant market power in the instream online video ads

market, as demand for YouTube content is unique compared to other online video publishers that

sell instream online video advertising adjacent to short-form user created video content.

   241.     The relevant geographic market for online instream video advertising is the United

States. Online instream video advertising available in other countries is not a reasonable substitute

for the online instream video advertising available in the United States. Therefore, the United

States is a relevant geographic market.

   242.     Google uses its market power to withhold YouTube inventory from competing buy-

side ad buying tools, forcing advertisers to use Google’s tools in order to purchase ad space from

the leading provider of video inventory in the United States.

   243.     Google did not always require advertisers to use a Google buy-side intermediary in

order to purchase YouTube ad space. Until 2015, advertisers could purchase YouTube inventory

through one of many non-Google buy-side intermediaries.

   244.     However, in 2013, Google noticed that its buy-side intermediary for large advertisers

DV360 was falling behind the competition and Google started to consider withholding YouTube

for the express purpose of pressuring advertisers to use DV360 and Google Ads. In an internal

2014 Google document, Google estimated that



   245.     Google also recognized that withholding YouTube from competing buy-side

intermediaries would give Google’s intermediaries, DV360 and Google Ads, power as buyers’

agent to steer advertisers’ budgets. A 2013 strategy conversation makes this clear:




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                                                                                    In other words,

by withholding YouTube, advertisers would have to use Google’s advertising buying tools,

permitting Google to then steer budgets back to Google properties.

   246.     Rather than competing on the basis of price or quality, Google started withholding

YouTube inventory from third-party buy-side intermediaries in order to force advertisers to use

Google’s advertising buying tools.

   247.     By restricting non-Google buy-side intermediaries from selling YouTube inventory,

Google acted against YouTube’s interest. Restricting the pool of buyers for YouTube inventory

lowered the demand and revenue for YouTube content creators.

   248.     The harm to competing buy-side intermediaries is also magnified because an advertiser

or ad agency may prefer to minimize the number of DSPs they use. Advertisers and ad agencies

bear significant costs and inefficiencies when using more than one DSP for an ad campaign. For

example, they increase the rate at which they bid against themselves on exchanges, driving up their

own advertising costs. As a result, advertisers can either use more than one DSP and increase their

costs or use just Google’s DSP and avoid these inefficiencies altogether.

   249.     Withholding YouTube caused competition on the buy-side to flounder. Many DSPs

stopped growing, many others went out of business, and the market overall has been closed to

entry.

                             VIII. ANTICOMPETITIVE EFFECTS

   250.     Google’s exclusionary conduct has resulted in harm to competition. Evidence of the

anticompetitive effects from Google’s conduct includes the exit of rival firms and limited and

declining entry rates in these markets (despite significant profits enjoyed by Google in those

same markets). The harm to competition deprives advertisers, publishers and consumers of

improved quality, greater transparency, increased output and/or lower prices.
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   251.      Google has unlawfully maintained monopolies by using its market power to

disadvantage rivals via tying, exclusionary conduct, information asymmetries, and other conduct

that has collectively and separately harmed competition in the following ways:

    i.       Denying rivals in the exchange market access to the necessary scale to compete

             effectively by denying rivals’ access to inventory and to advertiser demand;

    ii.      Substantially foreclosing competition in the market for exchanges and using market

             power in the exchange market to harm competition in the publisher ad server market;

    iii.     Substantially foreclosing competition in the market for publisher ad servers and using

             market power in the publisher ad server market to harm competition in the exchange

             market, the market for display ad buying tools for small advertisers, and the market

             for display ad buying tools for large advertisers;

    iv.      Substantially foreclosing competition in the markets for display ad buying tools for

             small advertisers and display ad buying tools for large advertisers by creating

             information asymmetry and unfair auctions by virtue of Google’s market dominance

             in the publisher ad serving tools and exchange markets;

    v.       Increasing barriers to entry in the markets for publisher ad servers, exchanges, display

             ad buying tools for small advertisers, and display ad buying tools for large

             advertisers;

    vi.      Harming innovation, which would otherwise benefit publishers, advertisers and

             consumers;

    vii.     Harming publishers’ ability to effectively monetize their content, reducing publishers’

             revenues, and thereby reducing output;




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     viii.    Maintaining opacity on margins and selling processes, harming competition in the

              exchange and display ad buying tools markets;

     ix.      Increasing advertisers’ costs to advertise and reducing the effectiveness of their

              advertising, thereby harming businesses’ ability to deliver their products and services,

              and reducing output;

     x.       Improperly shielding Google’s products from competitive pressures, thereby allowing

              it to continue to extract high margins while shielded from significant pressure to

              innovate.

     252.     This section outlines the effect of Google’s conduct on competition in the publisher

ad server market, exchange market, the market for display ad buying tools for small advertisers,

and the market for display ad buying tools for large advertisers, and the effects on publishers,

advertisers, businesses, and the general public.

A.         Anticompetitive Effects in the Publisher Ad Server Market

     253.     A significant barrier to entry—high switching costs—exists in the publisher ad server

market. Google’s conduct, including tying its publisher ad server to its exchange, creates

artificial barriers to entry in the publisher ad server market. Google’s foreclosure of rival

publisher ad servers has left publishers with little to no choice in their selection of publisher ad

server.

     254.     The anticompetitive effects of Google’s conduct on the publisher ad server market

can be seen by the exit of competitors and limited entry over the past decade or so. Several large

advertising technology firms offered publisher ad server solutions, including substantial

competitive offerings from Yahoo!, AppNexus, and OpenX. Today, few publisher ad server

competitors remain in the United States. Yahoo’s publisher ad server was acquired in 2017 and

shuttered in 2019. AppNexus’s publisher ad server was acquired by AT&T and rebranded to
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Xandr but faces an uncertain future as AT&T is reportedly considering selling the publisher ad

server. OpenX shut down its ad server solution in 2019.

     255.     Entry into the publisher ad server market has been remarkably weak over the past

decade. This lack of entry is a result of high publisher switching costs augmented by the

artificial barriers arising from Google’s anticompetitive conduct. As a result, publishers have

very limited alternatives to Google’s publisher ad serving product, and rivals are unable to

compete by improving quality or lowering price.

     256.     Google has charged supra-competitive fees and degraded quality in the publisher ad

server market.

B.      Anticompetitive Effects in the Exchange Market

     257.     Google abuses its scale in advertiser demand and information arising from its market

power in the publisher ad server market to create asymmetric advantages that benefit its

exchange over rival exchanges. In doing so, Google harms competition in the exchange market.

     258.     For example, Google implements Last Look (a feature of the publisher ad server) to

the benefit of Google’s exchange over rival exchanges. Google uses data from the publisher ad

server to benefit its exchange over rival exchanges. The artificial advantages created by Google’s

integration and asymmetric treatment drive scale for Google’s exchange over rivals. As Google

wins additional share, it gains access to bid and win data at scale that can be further used to

develop features that benefit the exchange over rival exchanges. Google’s conduct reduces rival

exchanges’ ability to compete on quality, since they are deprived of scale and are foreclosed

from the information necessary to build similar features.

     259.     Competition in the exchange market is harmed because Google’s auction programs

steer impressions to its own exchange. Competitors cannot effectively compete by lowering their

take rate, since Google will use its information advantage to adjust its margin when needed to
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markets for display ad buying tools for small advertisers and display ad buying tools for large

advertisers.

     262.   Competition in the market for display ad buying tool tools for large advertisers is

harmed by DV360’s unique access to YouTube inventory. Advertisers regard YouTube as

“must-buy”. Rival display ad buying tools for large advertisers could previously offer YouTube

inventory. Rather than competing on price or quality, making YouTube inventory exclusive to

DV360 allowed Google to ensure that DV360 is a must-use display ad buying tool for larger

advertisers.

D.      Harm to Innovation

     263.   Google’s anticompetitive conduct has shielded it from competitive pressures that

would otherwise require ongoing, substantial innovation in response to its customers’ needs.

Google. In turn, this lack of innovation has caused grave harm to advertisers, publishers and

consumers.

     264.   A critical example of Google’s anti-competitive conduct when innovation did occur,

albeit briefly, demonstrates the potential innovation that has been thwarted throughout the

period. Real-time bidding was developed as a technology around 2009. Google has deprived

rival exchanges, publishers, and advertisers of the potential of real-time bidding: all demand

sources competing in real-time to achieve the best access and price for a given impression.

Google’s announcement of AdX described: “By establishing an open marketplace where prices

are set in a real-time auction, the Ad Exchange enables display ads and ad space to be allocated

much more efficiently and easily across the web.” Google’s ensuing actions betrayed that goal

for its exchange, and betrayed the promise of real-time bidding working to achieve the efficient

allocation of impressions between publishers and advertisers.



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     265.   Google’s response to header bidding has further harmed innovation in the exchange

and publisher ad server markets. Google has used its market power in the publisher ad server

market and exchange markets to “kill” header bidding, rather than competing on the merits. For

example, in 2016, a publisher ad server competitor increased added a feature that improved the

efficiency and precision of header bidding for publishers. Meanwhile, Google continued to force

publishers using DFP to use more cumbersome and less efficient methods for implementing

header bidding. The benefits of innovation to support header bidding were limited because of

Google’s market power and anticompetitive actions. Header bidding offers a strong indication of

the benefits of equal access and competition for impressions, for publishers and advertisers.

Header bidding created the potential for innovation to disintermediate Google’s control of the

exchange and publisher ad server markets. Google’s response aimed to stifle the “existential

threat” of header bidding, and with it, the promise of innovation providing something better

matched to publisher and advertisers’ needs.

     266.   Google’s control of publisher inventory has limited the development of innovations

that would allow publishers to benefit from the audiences they create for their content, and

advertisers to better reach those audiences at lower cost. Google’s substantial harm and

elimination of competitors prevented competitive forces from driving innovative solutions that

best serve advertisers, publishers and consumers.

E.      Harm to Consumers

     267.   Consumers are harmed via the impact of Google’s anticompetitive conduct on

publishers and advertisers. Google’s anticompetitive conduct reduces the efficiency of matching

impressions and ads, reducing the potential benefits of online display advertising for publishers,

advertisers, and consumers. Google’s conduct harms publishers’ ability to effectively monetize



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their content. Google’s conduct reduces the efficiency of advertisers’ campaigns. Both of these

effects cause harm to consumers.

   268.    Google reduces publishers’ ability to effectively monetize their content, by

introducing inefficiencies and extracting a supracompetitive share of advertising revenues (up to

   percent for publishers using Google’s ad server DFP and Google’s exchange AdX). Google

generates advantages for its own exchange and display ad buying tools that depress real-time

competition between demand sources, and even within this reduced competition for impressions,

a publisher’s impression is not necessarily sold to the highest bidder. As described in this

complaint, publishers have very limited alternatives to Google’s publisher ad server. The impact

is a reduction in publisher revenues from digital advertising. . This reduction in publisher

advertising revenues affects the quality of the products that publishers can offer to consumers.

   269.    Leading, long-established and high-quality news publications have faced challenges

monetizing via digital advertising, despite large readership and growing subscriber bases. Digital

publishers were built on the expectation of fast growth in advertising sales but that expectation

has remained largely unrealized. In 2019, industry commentary described a pattern of struggling

publishers heralding the “accelerating deterioration of the sector.” In recent years, digital

publishers have struggled to meet their advertising revenue targets, leading many to downsize

their workforces significantly to reduce costs. By reducing the revenue potential for publishers,

Google reduces publishers’ incentives and resources to produce content. Consumers are harmed

by the reduction in availability, quality, and innovation in online content.

   270.    The impact of Google’s conduct on advertisers harms consumers. Advertising is an

important driver of competition within markets. For instance, advertising allows consumers to

learn of the range of competitors in a market, their prices, and the nature of the products and



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services offered. When advertising effectiveness is reduced, competition between rivals is

reduced, and consumers are harmed. Additionally, a reduction in the effectiveness of advertising

means that businesses have reduced ability to recoup investment in their products and services,

reducing their ability and incentive to continue to invest and innovate. With a competitive market

for ad tech services, the cost and effectiveness of advertising campaigns would be improved, and

consumers would benefit.

                                          IX. CLAIMS

A.        COUNT I – MONOPOLIZATION IN VIOLATION OF SECTION II OF THE
          SHERMAN ACT, 15 U.S.C. § 2

     271.   Plaintiff States repeat and reallege every proceeding allegation as if fully set forth

herein.

     272.   Google wrongfully acquired and unlawfully maintained monopoly power in the sell-

side market for publisher ad servers, unlawfully acquired, maintained, or attempted to acquire

monopoly power in the ad exchange market, and ad network markets, unlawfully acquired,

maintained, or attempted to acquire monopoly power in on the buy-side in the market for ad buying

tools made for small advertisers, and unlawfully attempted to acquire monopoly power on the buy-

side in market for ad buying tools for large advertisers (i.e. the DSP market).

     273.   Google has willfully maintained and abused its monopoly in the ad server market and

adjacent markets to, inter alia, restrict publishers from routing inventory to multiple exchanges,

preferentially route publisher inventory to Google’s exchange, provide Google’s exchange

exclusive access to high-value inventory, provide information advantages to harm competition,

structure key aspects of the exchange market to minimize transparency, trade ahead of header

bidding exchanges, use its data advantages to trade on inside information, deceive publishers to

encourage them to disable header bidding, cripple publishers ability to measure header bidding

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yield, reduce line item capabilities to impede header bidding, redesign how web content is

presented to make header bidding incompatible, withhold data from header bidding, and enter into

agreements with horizontal competitors to entrench its monopoly position, and exclude

competition through unified pricing.

   274.    Google has used its monopoly power in search and search advertising to create and

maintain a monopoly in Google’s buy-side tools and Google’s exchanges and force publishers to

use those products.

   275.    Google has willfully maintained and abused its monopoly power in the short-form

video sharing market to force advertisers to use Google’s buy-side tools.

   276.    Plaintiff States have sustained antitrust injury as a direct and proximate cause of

Google’s unlawful conduct, in at least the following ways: (1) substantially foreclosing

competition in the market for publisher ad servers, and using market power in the publisher ad

server market to harm competition in the exchange market; (2) substantially foreclosing

competition in the exchange market by denying rivals’ access to publisher inventory and to

advertiser demand; (3) substantially foreclosing competition in the market for demand-side buying

tools by creating information asymmetry and unfair auctions by virtue of Google’s market

dominance in the publisher ad serving tools and exchange markets; (4) increasing barriers to entry

and competition in publisher ad server, exchange, and demand-side buying tools markets; (5)

harming innovation, which would otherwise benefit publishers, advertisers and competitors; (6)

harming publishers’ ability to effectively monetize their content, reducing publishers’ revenues,

and thereby reducing output and harming consumers; (7) reducing advertiser demand and

participation in the market by maintaining opacity on margins and selling process, harming rival

exchanges and buying tools; (8) increasing advertisers’ costs to advertise and reducing the



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effectiveness of their advertising, and thereby harming businesses’ return on the investment in

delivering their products and services, reducing output, and harming consumers; (9) protecting

Google’s products from competitive pressures, thereby allowing it to continue to extract high

margins while shielded from significant pressure to innovate.

     277.     For the reasons set forth above, Google has violated Sections 2 of the Sherman Act, 15

U.S.C. § 2.

     278.     The Plaintiff States are entitled to equitable relief as appropriate to cure Google’s

unlawful conduct and restore competition in the relevant markets. Consumers in the Plaintiff States

are regular users of products in the relevant markets and will continue to purchase such products

and suffer further injury if Google’s unlawful monopolies are not ended.

B.        COUNT II – ATTEMPTED MONOPOLIZATION IN VIOLATION OF SECTION
          II OF THE SHERMAN ACT, 15 U.S.C. § 2

     279.     Plaintiff States repeat and reallege every proceeding allegation as if fully set forth

herein.

     280.     As detailed above, Google has monopoly power, or at a minimum, a dangerous

probability of acquiring monopoly power, in the relevant online display advertising markets,

including the sell-side market for ad servers, the ad exchange and ad network markets, and the

demand-side market for buying software.

     281.     Google has willfully, knowingly, and with specific intent to do so, attempted to

monopolize the relevant online display advertising markets, including the sell-side market for ad

servers, the ad exchange and ad network markets, and the demand-side market for buying software.

     282.     Google has attempted to monopolize in the ad server market and adjacent markets to,

inter alia, restrict publishers from routing inventory to multiple exchanges, preferentially route

publisher inventory to Google’s exchange, provide Google’s exchange exclusive access to high-

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value inventory, provide information advantages to harm competition, structure key aspects of the

exchange market to minimize transparency, trade ahead of header bidding exchanges, use its data

advantages to trade on inside information, deceive publishers to encourage them to disable header

bidding, cripple publishers ability to measure header bidding yield, reduce line item capabilities to

impede header bidding, redesign how web content is presented to make header bidding

incompatible, withhold data from header bidding, and enter into agreements with horizontal

competitors to entrench its monopoly position, and exclude competition through unified pricing.

   283.    Google has attempted to monopolize in search and search advertising to create and

maintain a monopoly in Google’s buy-side tools and Google’s exchanges and force publishers to

use those products.

   284.    Google has attempted to monopolize in the short-form video sharing market to force

advertisers to use Google’s buy-side tools.

   285.    Plaintiff States have sustained antitrust injury as a direct and proximate cause of

Google’s unlawful conduct, in at least the following ways: (1) substantially foreclosing

competition in the market for publisher ad servers, and using market power in the publisher ad

server market to harm competition in the exchange market; (2) substantially foreclosing

competition in the exchange market by denying rivals’ access to publisher inventory and to

advertiser demand; (3) substantially foreclosing competition in the market for demand-side buying

tools by creating information asymmetry and unfair auctions by virtue of Google’s market

dominance in the publisher ad serving tools and exchange markets; (4) increasing barriers to entry

and competition in publisher ad server, exchange, and demand-side buying tools markets; (5)

harming innovation, which would otherwise benefit publishers, advertisers and competitors; (6)

harming publishers’ ability to effectively monetize their content, reducing publishers’ revenues,



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and thereby reducing output and harming consumers; (7) reducing advertiser demand and

participation in the market by maintaining opacity on margins and selling process, harming rival

exchanges and buying tools; (8) increasing advertisers’ costs to advertise and reducing the

effectiveness of their advertising, and thereby harming businesses’ return on the investment in

delivering their products and services, reducing output, and harming consumers; (9) protecting

Google’s products from competitive pressures, thereby allowing it to continue to extract high

margins while shielded from significant pressure to innovate.

     286.     For the reasons set forth above, Google has violated Sections 2 of the Sherman Act, 15

U.S.C. § 2.

     287.     The Plaintiff States are entitled to equitable relief as appropriate to cure Google’s

unlawful conduct and restore competition in the relevant markets. Consumers in the Plaintiff States

are regular users of products in the relevant markets and will continue to purchase such products

and suffer further injury if Google’s unlawful monopolies are not ended.

C.        COUNT III – UNLAWFUL TYING IN VIOLATION OF SECTION II OF THE
          SHERMAN ACT, 15 U.S.C. § 2

     288.     Plaintiff States repeat and reallege every proceeding allegation as if fully set forth

herein.

     289.     Google’s contractual arrangements and other conduct force publishers and others to

use Google DFP if they use Google AdX exchange.

     290.     Google’s DFP and Google AdX are separate products in separate markets.

     291.     Google AdX has sufficient market power in the exchange market to coerce publishers

and others to use DFP even if they would prefer not to do so.

     292.     Google’s tying arrangements affect a significant volume of interstate commerce and

have the effect of substantially foreclosing competition in the publisher ad server market by virtue

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of reducing the number of publishers and others for whom other publisher ad servers can

effectively compete. Moreover, these tying arrangements allow Google to maintain supra-

competitive prices for AdX that are ultimately passed on to publishers and others, who are also

harmed by virtue of having fewer options available at lower prices because of Google’s conduct.

   293.    Google’s tying arrangements have caused competing publisher ad servers substantial

damages as a direct and proximate cause of this unlawful conduct because Google has foreclosed

other publisher ad servers from competing for potential publishers and others, and deprived

publisher ad servers of other business for reasons having nothing to do with the merits of Google

DFP or other publisher ad server products.

   294.    Google’s contractual arrangements and other conduct force advertisers and others to

use Google’s ad buying tools, DV360 or Google Ads, if they seek to advertise on YouTube.

   295.    YouTube and Google’s demand-side platforms and advertising buying tools—DV360

and Google Ads—are separate products in separate markets.

   296.    YouTube has sufficient power in the online video inventory market to coerce

advertisers and others to use Google’s demand-side platforms and advertising buying tools—

DV360 and Google Ads—even if they would prefer not to do so.

   297.    Google’s tying arrangements have a significant volume on interstate commerce, and

have the effect of substantially foreclosing competition in the demand-side platform and

advertising buying tools by virtue of reducing the number of advertisers and others for whom other

demand-side platforms and advertising buying tools can effectively compete. Moreover, these

tying arrangements allow Google to gain share for demand-side platforms and advertising buying

tools that are ultimately passed on to advertisers and others, who are also harmed by virtue of

having fewer options available at lower prices because of Google’s conduct.



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     298.   Google’s contractual arrangements and other conduct force small advertisers and

others to use Google AdX exchange, or at least not to use competing exchanges, if they use

Google Ads.

     299.   Google Ads and Google AdX are separate products in separate markets.

     300.   Google Ads has sufficient power in the market for small advertiser ad buying tools to

coerce advertisers and others to use Google AdX even if they would prefer not to do so.

     301.   Google’s tying arrangements have a significant volume of interstate commerce, and

have the effect of substantially foreclosing competition in the ad exchange market by virtue of

reducing the number of small advertisers and others for whom other exchanges can effectively

compete. Moreover, these tying arrangements allow Google to maintain supra-competitive

prices for AdX that are ultimately passed on to advertisers and others, who are also harmed by

virtue of having fewer options available at lower prices because of Google’s conduct.

     302.   Google’s tying arrangements have caused competing exchanges substantial damages

as a direct and proximate cause of this unlawful conduct because Google has foreclosed other

exchanges from competing for potential small advertisers and others, and deprived exchanges of

other business for reasons having nothing to do with the merits of Google AdX’s or other

exchanges products.

D.        COUNT IV – UNLAWFUL AGREEMENT IN VIOLATION OF SECTION I OF
          THE SHERMAN ACT, 15 U.S.C. § 1

     303.   Plaintiff States repeat and reallege every proceeding allegation as if fully set forth

herein.

     304.    Google and its co-conspirator )DFHERRN unreasonably restrained trade and harmed

competitionthrough an unlawful agreement to allocate auction wins and to fix prices in violation

of Section 1 of the Sherman Act, 15 U.S.C. § 1.

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     305.   Google wrongfully acquired and unlawfully maintained monopoly power in the

relevant online display advertising markets, including the sell-side market for ad servers in the

United States.

     306.   The agreements between Google and its co-conspirator Facebook are contracts,

combinations, and conspiracies within the meaning of Section 1 of the Sherman Act, 15 U.S.C. §

1.

     307.   Google’s anticompetitive acts have had harmful effects on competition and consumers.

E.        COUNT V – SUPPLEMENTAL STATE LAW ANTITRUST CLAIMS

     308.   Plaintiff State of Texas repeats and realleges every preceding allegation as if fully set

forth herein.

     309.   The aforementioned practices by Google were and are in violation of Texas Business

and Commerce Code § 15.01 et seq., including § 15.05(b).

     310.   Plaintiff State of Idaho repeats and re-alleges each and every preceding allegation as if

fully set forth herein.

     311.   Google has engaged in Idaho commerce, as that term is defined by Idaho Code § 48

103(1).

     312.   Google’s actions as alleged herein violate the Idaho Competition Act, Idaho Code § 48

105, in that such actions constitute monopolization, an attempt to monopolize, and/or a

combination or conspiracy to monopolize lines of Idaho commerce, as that term is defined by

Idaho Code § 48 103(1).

     313.   Google’s actions as alleged herein violate the Idaho Competition Act, Idaho Code § 48

104, in that they have the purpose and/or the effect of unreasonably restraining Idaho commerce,

as that term is defined by Idaho Code § 48-103(1).



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   314.    For each and every violation alleged herein, Plaintiff State of Idaho is entitled to all

legal and equitable relief available under the Idaho Competition Act, Idaho Code §§ 48 108, 48

112, including, but not limited to, declaratory judgment, injunctive relief, civil penalties,

divestiture of assets, disgorgement, expenses, costs, attorneys’ fees, and such other and further

relief as this Court deems just and equitable.

   315.    Plaintiff State of Indiana repeats and realleges every preceding allegation as if fully set

forth herein.

   316.    The aforementioned practices by Google were and are in violation of Ind. Code §§ 24-

1-2-1 and -2.

   317.    Plaintiff the Commonwealth of Kentucky repeats and re-alleges each and every

preceding allegation as if fully set forth herein. The aforementioned acts or practices by Google

violate Kentucky’s antitrust statute, Ky. Rev. Stat. § 367.175.

   318.    Google engaged in and is engaging in unlawful conduct in the course of trade or

commerce, within the meaning of Ky. Rev. Stat. § 367.175, that has harmed and is harming the

Commonwealth and consumers.

   319.    Further, pursuant to Ky. Rev. Stat. § 367.990(8), the Commonwealth seeks civil

penalties of not more than the greater of five thousand dollars ($5,000) or two hundred dollars

($200) per day for each and every violation of Ky. Rev. Stat. § 367.175. The Commonwealth is

entitled to relief including but not limited to: disgorgement, injunctions, civil penalties, damages,

and its costs and attorney’s fees pursuant to Ky. Stat. Ann. § 367.110-990.

   320.    The Commonwealth of Kentucky seeks relief on behalf of itself and as parens patriae

on behalf of its residents, pursuant to Ky. Rev. Stat. § 15.020, Ky. Rev. Stat. § 367.110 et. seq.,

Ky. Rev. Stat. § 367.990, and Kentucky Common Law.



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    321.    Plaintiff State of Mississippi repeats and re-alleges each and every preceding allegation

as if fully set forth herein.

    322.    Google’s acts violate Miss. Code Ann. § 75- 21-1 et seq., and Plaintiff State of

Mississippi is entitled to relief under Miss. Code Ann. § 75- 21-1 et seq.

    323.    Pursuant to Miss. Code Ann. § 75-21-1 et seq., Plaintiff State of Mississippi seeks and

is entitled to relief, including but not limited to injunctive relief, damages, restitution,

disgorgement, civil penalties, costs, attorney fees, and any other just and equitable relief which

this Court deems appropriate.

    324.    Plaintiff State of Missouri repeats and realleges every preceding allegation as if fully

set forth herein.

    325.    The aforementioned practices by Google were and are in violation of the Missouri

Antitrust Law, Mo. Rev. Stat. §§ 416.011 et seq.

    326.    Plaintiff State of North Dakota repeats and realleges every preceding allegation as if

fully set forth herein.

    327.    The aforementioned practices by Google were and are in violation of North Dakota

Century Code (N.D.C.C.) § 51-08.1-01 et seq., Uniform State Antitrust Act, including §§ 51-08.1-

02 and 51-08.1-03.

    328.    Plaintiff State of South Dakota repeats and realleges every preceding allegation as if

fully set forth herein.

    329.    The aforementioned practices by Google were and are in violation of South Dakota

statutes SDCL 37-1-3.1 and 37-1-3.2.

    330.    Plaintiff State of Utah repeats and realleges each and every preceding allegation as if

fully set forth herein.



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     331.   Google’s acts violate the Utah Antitrust Act, Utah Code § 76-10-3101, et. seq. (the

“Act”) and Plaintiff State of Utah is entitled to all relief available under the Act for those violations,

including, but not limited to, injunctive relief, civil penalties, disgorgement, attorneys’ fees, and

costs.

F.       COUNT VI – SUPPLEMENTAL STATE DECEPTIVE TRADE LAW CLAIMS

     332.   Plaintiff State of Texas repeats and realleges every preceding allegation.

     333.   At all times described herein, Google has engaged in conduct which constitutes “trade”

and “commerce” defined in §17.45(6) of the DTPA.

     334.   Plaintiff State of Texas has reason to believe that Google has engaged in, and will

continue to engage in, the unlawful practices set forth herein, has caused and will cause adverse

effects to legitimate business enterprises which lawfully conduct trade and commerce in this State,

and will cause damage to the State of Texas and to persons in the State of Texas. Therefore, the

Consumer Protection Division of the Office of the Attorney General of the State of Texas believes

and is of the opinion that this matter is in the public interest.

     335.   As alleged in more detail above, Google has engaged in false, deceptive, or misleading

acts or practices in connection with each of its roles within the ad tech stack. In each such role,

Google at least implicitly misrepresents that it is operating in the best interest of its customer, fails

to disclose its conflicts of interest, and misrepresents the many ways that Google operates to

disadvantage its customers.

     336.   For example, in its role as an ad server, Google led publishers to believe that it was

acting in the publisher’s best interest and would help them maximize revenue, when Google does

not seek to maximize the publisher’s revenue, but its own.

     337.   Similarly, in its roles as an ad exchange and ad network, Google misleads both

publishers and advertisers regarding the actual price of advertisements. Google is deliberately
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opaque and nontransparent in its pricing terms, fails to disclose the fee it collects, and generally

causes confusion regarding the mechanics, terms, and pricing of its ad exchange and ad network.

   338.     Google has also engaged in false, deceptive, or misleading acts or practices in its efforts

to discourage publishers, ad exchanges, and advertisers from participating in header bidding and

to manipulate them into participating in Google’s products. Such acts included misrepresenting to

publishers that including rival exchanges in header bidding would negatively affect the publisher

(e.g., by putting a strain on the publisher’s servers), misrepresenting to publishers that Open

Bidding would benefit them through exchange competition, falsely telling publishers that adopting

AMP would enhance load times, falsely claiming that header bidding increased latency, falsely

representing that abolishing price floors in Unified Pricing benefited publishers, misrepresenting

that all bidders in Google’s exchanges compete on an equal footing, and misrepresenting that

Google had removed its Last Look advantage and would not trade ahead of their bids.

   339.     Google also misrepresents to participants in the ad tech stack and its users alike that

Google encrypts User IDs in order to protect users’ privacy, when in fact, Google continues to

infringe on users’ privacy by continuing to access such information in its own ad tech stack

products.

   340.     Google has also engaged in false, deceptive, or misleading acts or practices by

misrepresenting that it will never sell users’ personal information to anyone.

   341.     Through its false, deceptive, or misleading acts, Google has violated § 17.46(a) of the

DTPA, including by engaging in conduct specifically defined to be false, deceptive, or misleading

by § 17.46(b) such as:

       A.      Representing that services have sponsorship, approval, characteristics, ingredients,

               uses, benefits, or quantities which they do not have or that a person has a



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               sponsorship, approval, status, affiliation, or connection which he does not have, in

               violation of DTPA § 17.46(b)(5);

       B.      Representing that services are of a particular standard, quality, or grade, if they are

               of another, in violation of DTPA § 17.46(b)(7);

       C.      Advertising goods or services with the intent not to sell them as advertised, in

               violation of DTPA § 17.46(b)(9);

       D.      Representing that an agreement confers or involves rights, remedies, or obligations

               which it does not have or involve, or which are prohibited by law, in violation of

               DTPA § 17.46(b)(12); and

       E.      Failing to disclose information concerning goods or services which was known at

               the time of the transaction with the intent to induce the consumer into a transaction

               into which the consumer would not have entered had the information been disclosed

               in violation of § 17.46(b)(24).

   342.     By means of the foregoing unlawful acts and practices, Google has acquired money or

other property from persons to whom such money or property should be restored.

   343.     Plaintiff the Commonwealth of Kentucky repeats and re-alleges each and every

preceding allegation as if fully set forth herein, specifically Texas’s allegations in Count VI of this

Complaint. The aforementioned acts or practices by Google violate the Consumer Protection Act,

Ky. Rev. Stat. § 367.110 et seq.

   344.     Google engaged in and is engaging in unlawful conduct in the course of trade or

commerce, within the meaning of Ky. Rev. Stat. § 367.170, that has harmed and is harming the

Commonwealth and consumers. The above described conduct has been and is willful within the

meaning of Ky. Rev. Stat. § 367.990.



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    345.    The Commonwealth states that the public interest is served by seeking a permanent

injunction to restrain the acts and practices described herein. The Commonwealth and its citizens

will continue to be harmed unless the acts and practices complained of herein are permanently

enjoined pursuant to Ky. Rev. Stat. § 367.190.

    346.    Further, the Commonwealth seeks restitution to the Commonwealth and/or

disgorgement pursuant to Ky. Rev. Stat. § 367.190 - 200. The Commonwealth seeks a civil penalty

of up to $2,000 for each such willful violation, or $10,000 for each such violation directed at a

person over 60, pursuant to Ky. Rev. Stat. § 367.990(2). The Commonwealth is entitled to relief

including but not limited to: disgorgement, injunctions, civil penalties, damages, and its costs and

attorney’s fees pursuant to Ky. Stat. Ann. § 367.110-990.

    347.    The Commonwealth of Kentucky seeks relief on behalf of itself and as parens patriae

on behalf of its residents, pursuant to Ky. Rev. Stat. § 15.020, Ky. Rev. Stat. § 367.110 et. seq.,

Ky. Rev. Stat. § 367.990, and Kentucky Common Law.

    348.    Plaintiff State of Mississippi repeats and re-alleges each and every preceding allegation

as if fully set forth herein.

    349.    The aforesaid conduct was not only anti-competitive but was also unfair and deceptive

to the consumers of the State of Mississippi, therefore Google’s acts violate the Mississippi

Consumer Protection Act, Miss. Code Ann. § 75-24-1, et seq., and Plaintiff State of Mississippi is

entitled to relief under the Mississippi Consumer Protection Act, Miss. Code Ann. § 75-24-1, et

seq.

    350.    Pursuant to the Mississippi Consumer Protection Act, Miss. Code Ann. § 75-24-1, et

seq., Plaintiff State of Mississippi seeks and is entitled to relief, including but not limited to




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injunctive relief, damages, restitution, disgorgement, civil penalties, costs, attorney fees, and any

other just and equitable relief which this Court deems appropriate.

    351.    Plaintiff State of Missouri repeats and realleges every preceding allegation as if fully

set forth herein.

    352.    The aforementioned practices by Google were and are in violation of Missouri’s

Merchandising Practices Act, Mo. Rev. Stat. §§ 407.010 et seq., as further interpreted by 15 CSR

60-8.010 et seq. and 15 CSR 60-9.01 et seq.

    353.    Plaintiff State of North Dakota repeats and realleges every preceding allegation as if

fully set forth herein.

    354.    The aforementioned practices by Google were and are in violation of N.D.C.C. §51-

15-01 et seq., Unlawful Sales or Advertising Practices, including § 51-15-02.

    355.    Plaintiff State of South Dakota repeats and realleges every preceding allegation as if

fully set forth herein.

    356.    The aforementioned practices by Google were and are in violation of South Dakota

statute SDCL 37-24-6(1).

                                    X.   PRAYER FOR RELIEF

357.    Accordingly, the Plaintiff States request that the Court:

    a) Adjudge and decree that Google has committed violations of Section 2 of the Sherman Act,
       15 U.S.C. § 2;

    b) Adjudge and decree that Google has committed violations of Section 1 of the Sherman Act,
       15 U.S.C. § 1;

    c) Order monetary damages for violations that Google has committed of Sections 1 & 2 of
       the Sherman Act, 15 U.S.C. §§ 1, 2;

    d) Order monetary relief to the Plaintiff States as parens patriae pursuant to 15 U.S.C. § 15c;




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e) Order injunctive relief to restore competitive conditions in the relevant markets affected by
   Google’s unlawful conduct;

f) Order structural relief to restore competitive conditions in the relevant markets affected by
   Google’s unlawful conduct;

g) Enjoin and restrain, pursuant to federal and state law, Google and their officers, directors,
   partners, agents, and employees, and all persons acting or claiming to act on their behalf or
   in concert with them, from continuing to engage in any anticompetitive conduct and from
   adopting in the future any practice, plan, program or device having a similar purpose or
   effect to the anticompetitive actions set forth above;

h) Adjudge and decree that Google has committed violations of each of the state laws
   enumerated in Count V;

i) Order Google to pay civil fines pursuant to § 15.20(a) of the Texas Business and Commerce
   Code;

j) Order Google to pay civil penalties pursuant to Idaho Code § 48-108(d);

k) Order Google to pay civil penalties of not more than fifty thousand dollars ($50,000) for
   each violation of N.D.C.C. § 51-08.1-01 et seq., pursuant to N.D.C.C. § 51-08.1-07;

l) Order Google to pay civil penalties pursuant to South Dakota statute SDCL 37-1-14.2;

m) Order structural and other injunctive relief to enjoin, restrain, and prevent and deter the
   recurrence of the anticompetitive actions set forth above and to restore and preserve fair
   competition, including an order to disgorge all revenues, profits and gains achieved in
   whole or in part through violations of Mo. Rev. Stat. §§ 416.011 et seq.;

n) Order other equitable relief as may be appropriate;

o) Award the Plaintiff States the costs of this action and its preceding investigation, including
   reasonable attorneys’ fees and costs, as provided for in the Clayton Act and applicable state
   law, including N.D.C.C. § 51-08.1-08;

p) Enjoin and restrain, pursuant to the DTPA and/or other State law, Google and its officers,
   directors, partners, agents, and employees, and all persons acting or claiming to act on its
   behalf or in concert with it, from continuing to engage in any false, deceptive, or misleading
   acts or practices and from adopting in the future any acts or practice having a similar
   purpose or effect to the false, deceptive, or misleading actions set forth above;

q) To pay civil penalties of up to $10,000.00 per violation for each and every violation of
   the DTPA as authorized by Tex. Bus. & Com. Code § 17.47(c)(1);



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    r) To restore all money or other property acquired by means of unlawful acts or practices, or
       in the alternative, to compensate identifiable persons for actual damages;

    s) To disgorge all sums, monies, and value taken from consumers by means of deceptive trade
       practices, together with all proceeds, interest, income, profits, and accessions thereto;
       making such disgorgement for the benefit of victimized consumers and Plaintiff;

    t) To pay all costs of Court, costs of investigation, and reasonable attorneys’ fees pursuant to
       Section 17.47 of the DTPA and Tex. Govt. Code Ann. § 402.006(c);

    u) Order Google to pay reasonable attorney’s fees, investigation fees, costs, and expenses
       pursuant to N.D.C.C. § 51-15-10;

    v) Order Google to pay civil penalties in an amount of up to $1,000 for each act in connection
       with each sale or advertisement of merchandise in violation of Mo. Rev. Stat. §§ 407.010
       et seq.;

    w) Order structural and other injunctive relief to enjoin, restrain and prevent, and deter the
       recurrence of the unlawful merchandising practices set forth above, including an order to
       disgorge all revenues, profits and gains achieved in whole or in part through violations of
       Mo. Rev. Stat. §§ 407.010 et seq.;

    x) Order an award of restitution, payable to the State of Missouri, to restore all persons in
       Missouri suffering loss as a result of Google’s unlawful merchandising practices in
       violation of Mo. Rev. Stat. §§ 407.010 et seq., and order additional award equal to 10% of
       such restitution, payable to the State of Missouri to the credit of the Missouri
       Merchandising Practices Revolving Fund, as provided in Mo. Rev. Stat. § 407.140, and to
       pay all costs, including fees, of investigation and prosecution of these claims pursuant to
       Mo. Rev. Stat. § 407.130 and § 416.121;

    y) Order Google to pay civil penalties of not more than five thousand dollars ($5,000) for
       each violation of N.D.C.C. §51-15-01 et seq. pursuant to N.D.C.C. §§ 51-15-11;

    z) Order Google to pay civil penalties pursuant to South Dakota statute SDCL 37-24-27;

    aa) Grant leave to amend the Complaint to conform to the evidence produced at trial; and

    bb) Direct such other and further relief as the Court deems just and proper.

                                 XI. DEMAND FOR A JURY TRIAL

    358.    Pursuant to Federal Rule of Civil Procedure 38(b), the Plaintiff States demand a trial

by jury of all issues properly triable to a jury in this case.



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Respectfully submitted,

December 16, 2020

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